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                   EXHIBIT A
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M.l 1-IU {1~~\ 06/12) ~urnmons 111 3 Cl ~d ,\cuun


                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Northcm District of New York


Jane Doe on behalf of herself and her minor child, et              )
                        al.                                        )
                                                                   )
                                                                   )
                              1'/nillliflisl                       )
                                                                   )
                                   V.                                      Civil Action No.   1:20-CV-0840 (BKS/CFH)
                                                                   )
    Howard Zucker, in his orticfal capacity as                     )
Commissioner or Health for the State of New York, et               )
                        al.                                        )
                                   "
                                                                   )
                             Df:fimdmm.~J                          )

                                                    SUMMONS IN A CJVIL ACTION

To: (Vt!jimdmll 's 11((1/"' and adclrt>ssJ THREE VILLAGE CENTRAL SCHOOL DISTRICT. 100 Suffolk Avenue, Stony Brook,
                                           NY 11790
                                       *HCHERYL PEDISICH, Superintendent, Three Village Central School District. 100
                                           Suffolk Avenue, Stony Brook, NY 11790
                                           CORINNE KEANE, Principal, Paul J. Gelinas Junior High School, 25 Mud Rd, East
                                           Setauket, NY 11733


          A lawsuit has been fried against you.

          Within 21 days alter service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. J:2 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the rcderal Rules of Civil Procedure. The answer or motion must be served on the plaintiiT or plaintifrs auorney.
whose name and address are: Sussman & Associates
                                  1 Railroad, Suite 3
                                  PO Box 1005
                                  Goshen, NY 10924



       If you fail to respond. judgment by default will be entered ugninst you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:      07/27/2020                                                               s/ Helen M. Reese
        -------                                                              ------··-                     -----
                                                                                    Sigmmwe ofCit:rk or Oo:pllly (.'/('rl;
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AO ,1411 ( l{..:v 061 J2) Summons 111 a Cl'" ll A CifOII I l ~o~~c: l )

 Civil Action No. 1:20-CV-0840 (BKS/CFH)

                                                                            PROOF OF SE.RVJCE
                            (Tit is sectitJII slwullllwt be filed with tile court unless retJttiretl by Fetl. R. Cil•. P. 4 (I))

               This summons for fnmnc ofindividual and titk·. tfw~rJ
 was received by me on fclntc)

              0 I person::~lly served the summons on the individual at tplacN
                                                                                                 on (tlut.:J                          : or
             ---------·--------·-------·                                                                       - - - - - - -·
              0 I left the summons at the individual's residence or usual place of abode with                        (,u,,,.,
                                                                                  . a person or $uitable age and discretion who resides there,
             -------------------------------
              on Mat.:)             . and mailed a copy to the individuul ' s last known address; or

              0 I served the summons on (11ame ofimiMdua/)                                                                                   • who is
                                                                                      -----~------------                          --·-
               designated by law to accept service of process on behalf of (1lt11111' (Jf()rs cmi:ati<llll
                                                                                                                                      ; or
                                                                                      ---- on        Mmi!)


              0 I returned the summons unexecuted because                                                                                        : or

              0 Other (spcdfyJ:



              My fees arc$                                         for travel and $
                                                                                      - ---           for services, for n totnl of$      0.00
                                                                                                                                      - ------
               I declare under penalty of perjury that this information is true.



 Dale:



                                                                                              ------------··-·
                                                                                                  /'l"illtf!d mmu: and tit/1!
                                                                                                                              - ·- - - -




 Additional information regarding attempted seJVicc. etc:
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                                       UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF NEW YORK


                                                       NOTICE
                               Case No.: 1:20-CV-0840 (BKS/CFH)
                  THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for removal
within sixty (60) days of filing this action.

The attached Civil Case Management Plan must be completed and filed with the clerk no later than seven (7)
days prior to the conference date referenced below.

CONFERENCE DATEffiME: November 16, 2020, at 9:00AM

CONFERENCE LOCATION: Albany, New York

BEFORE MAGISTRATE JUDGE: CHRISTIAN F. HUMMEL

CONTENTS:

        0        General Order #25 (Filing Order)

        0        Case Management Plan

        0        Case Assignment/Motion Schedules and Filing Locations

        0        Consent Form to Proceed before U.S. Magistrate Judge

NOTE: ALL CIVIL ACTIONS SHALL BE REFERRED INTO THE NORTHERN DISTRICT'S MANDATORY
MEDIATION PROGRAM EXCEPT THOSE CASES THAT HAVE BEEN DESIGNATED AS EXEMPT UNDER
SECTION 2.1 (A) OF GENERAL ORDER #47. lfthe ADR track below has been checked, this case will be referred into the
Mandatory Mediation Program. Counsel are directed to review the Mandatory Mediation Plan prior to the Rule 16 Conference.
Please refer to General Order #47 ·Mandatory Mediation Program which is available on the Court's website at
www.nynd.uscourts.gov.



                                                       X    ADR Track
                                         ~0-BKS-CFH
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                                         UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF NEW YORK

                                                    GENERAL ORDER #25

                        I. PURPOSE                                                           UI. SERVICE

It is the policy of this court to help litigants resolve their      A. Timing: When serving a Complaint or Notice of
civil disputes in a just, timely and cost-effective manner. To      Removal, the filing party shall serve on all other parties a
that end, this court has adopted an Expense and Delay               copy of this General Order and the attached materials.
Reduction Plan in accordance with the Civil Justice Refonn          Service of process should be completed within Sixty (60)
Act of 1990. This will tailor the level of individualized case      days from the initial filing date. This expedited service is
management needs to such criteria as case complexity, and           necessary to fulfill the dictates of the Civil Justice Reform
the amount oftime reasonably needed to prepare the case for         Act Expense and Delay Reduction Plan of this court and to
trial.                                                              ensure adequate time for pretrial discovery and motion
                                                                    practice. However, in no event shall service of process be
                          II. SCOPE                                 completed after the time specified in Fed. R. Civ. P. 4, or
                                                                    any other Rule or Statute which may govern service of
This order applies to all civil cases filed in this court except:   process in a given action.
multi-district litigation, case remanded from the appellate
court, reinstated and reopened cases, and cases in the              B. Filing Proof(s) of Service: Proof(s) of service of process
following Nature of Suit (NOS) categories indicated on the          are to be filed with the clerk's office no later than five (5)
JS44 Civil Cover Sheet: Prisoner Petitioners (463,510-560),         days after service of the complaint or notice of removal with
Forfeiture/Penalty {625,690), Bankruptcy Appeals                    a copy of this General Order.
(422,423), Social Security Appeals (861-865), Contracts
(only NOS 150) and other contract actions which involve the         C. Non Compliance with Sixty (60) Day Service
collection of debts owed to the United States), and Real            Requirement: In the event that the filing party cannot
Property (only NOS 220), and Naturalization Application &           comply with the Sixty (60) day service requirement, that
other Immigration Actions (NOS 462, 465) and Arbitration            party shall immediately notify the assigned Magistrate Judge
(NOS 896).                                                          and request an adjournment of the initial Rule 16 case
                                                                    management conference date contained in the attached Civil
*Note - When the Court deems it appropriate, Rule I 6               Case Management Plan.
Scheduling Conferences will be held in the above excepted
actions.                                                            If an adjournment of the conference date is granted, it shall
                                                                    be the responsibility of the filing party to notify all parties to
The Court has adopted the guidelines of civility as outlined        the action of the new date, time and location for the case
in the New York State Bar Association Guidelines on                 management conference. Proof of service of such notice
Civility in Litigation, a copy of which is available on the         shall then be immediately filed with the clerk's office.
courts web-site at www.nynd.uscourts.gov.
                                                                                  IV. ADDITIONAL PARTIES

                                                                    Any party who, after the filing of the original complaint or
                                                                    notice of removal, causes a new party to be joined in the
                                                                    action shall promptly serve on that new party a copy of
                                                                    General Order 25 along with any additional Uniform Pretrial
                                                                    Scheduling Order that has been entered by the court.




                                                              Pagel
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                  V. REMOVED CASES                                                   VIII. ADR PROGRAMS

In cases removed to this court from a state court, the             It is the mission of this court to do everything it can to help
removing defendant(s) shall serve on the plaintiff(s) and all      parties resolve their disputes as fairly, quickly, and
other parties, at the time of service of the notice of removal,    efficiently as possible. The Court has adopted a Mandatory
a copy of this General Order with the attached materials.          Mediation Program- see General Order#47 available on the
The filing of a motion for remand does not relieve the             Court's website. All civil cases that are not exempt under
moving party of any obligation under this General Order            General Order #47 and are filed after January I, 2014, as
unless the assigned judge or magistrate judge specifically         well as all cases where a Rule 16 Conference is scheduled
grants such relief.                                                after January I, 2014, will be placed into the Mandatory
                                                                   Mediation Program. The Court may also refer other pending
               VI. TRANSFERRED CASES                               cases into the Mandatory Mediation Program. The parties
                                                                   are directed to review the Mandatory Mediation Plan
The clerk shall serve a copy of this General Order on all          requirements prior to the Rule 16 Pretrial Conference. At
parties that have appeared in any action transferred to this       the Rule 16 Pretrial Conference, the assigned Magistrate
district. The clerk shall set a return date for the initial Rule   Judge will set a deadline for the completion of Mediation
16 case management conference on the form attached to the          under General Order #47. The referral of a case to the
General Order. It shall be the obligation of the plaintiff or      Mandatory Mediation Program does not delay or defer other
plaintiffs counsel to arrange for completion of the attached       dates established in the Scheduling Order and has no effect
Case Management Plan and to file the Plan with the clerk           on the scheduled progress of the case toward trial.
and to serve this General Order upon any party who had not
appeared in the action at the time of transfer.                    A) Settlement Conferences:
                                                                   The parties are advised that the court will honor a request for
Attorneys appearing in transferred cases are reminded of           a settlement conference at any stage of the proceeding. A
their obligation to be properly admitted to this district in       representative of the parties with the authority to bind the
accordance with Local Rule 83.1 . Attorneys must also be           parties must be present with counsel or available by
registered for electronic filing. Refer to Section XII of this     telephone at any settlement conference.
General Order.
                                                                   B) Consent to Jury or Court Trial Before A
VII.    MATERIALS INCLUDED WITH                          THIS      United States Magistrate Judge:
        GENERAL ORDER PACKET                                       By written stipulation, the parties to any civil action may
                                                                   elect to have a magistrate judge (instead of the assigned
A)      Notice of Initial Rule J6 Case Management                  Article Ill judge) conduct all proceedings in any civil case,
        Conference                                                 including presiding over a jury or bench trial. A trial before
B)      Civil Case Management Plan                                 a magistrate judge is governed by the same procedural and
C)      Case Assignment Fonn                                       evidentiary rules as trial before a district judge. The right to
D)      Notice and Consent Fonn to Exercise of                     appeal is automatically preserved to the United States Court
        Jurisdiction by a United States Magistrate Judge           of Appeals under the same standards which govern appeals
                                                                   from an Article ill judge. Parties often consent to resolution
                                                                   of their civil disputes by magistrate judge bench or jury trial
                                                                   because magistrate judges have less crowded calendars.




                     IX. DISCOVERY                                 presented to the Court unless authorized by the Magistrate
                                                                   Judge after communication with the Magistrate Judges'
A. Discovery Motions: Prior to bringing a discovery dispute        chambers.
to a Magistrate Judge, the parties must confer in good faith
in accordance with the provisions of Local Rule 7.l(d). In         B. Filing Discovery: Parties nre directed not to file
addition, no non-dispositive or discovery motions should be        discovery material unless it is being filed in accordance with

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Local Rule 26.2.                                                                         XII. ELECTRONIC FILING

For additional information on local requirements related to       As of January I, 2004, all documents submitted for filing by
depositions and discovery please refer to Section V. of the       attorneys admitted to practice in the Northern District of
Local Rules of this court.                                        New York shall be filed electronically using the CMIECF
                                                                  system. Refer to General Order #22 for procedures for filing
                       X. MOTIONS                                 documents electronically. Attorneys must be registered for
                                                                  both PACER and CM!ECF. Consult the CMIECF section of
A. Motion Return Dates: Please refer to the attached case         the courts web-site at www.nynd.uscourts.gov for PACER
assignment form for a complete listing of the motion return       registration, CMIECF registration, CM/ECF training dates,
dates for the judges and magistrate judges of this court.         and General Order #22.

For additional information on local requirements related to                            REVISED GENERAL ORDER #25
motion practice, please refer to Local Rule 7.1.                                            Dated: July 23,2019

                                                                                  s/
     XI. CASE MANAGEMENT CONFERENCE
                                                                                               Hon. Glenn T. Suddaby.
                                                                                               Chief U.S. District Judge
Except in actions exempted under Section n of this order, or
 when otherwise ordered by the court, the parties shall, as       ·The 113/2010 revision added Magistr:lle Judge Andrew T. Baxter.
                                                                  • The 4118/2011 revnion added U.S. District Judge Mae A. 0' Agostino and MQ8istn1te Judge
soon as practicable, but no later than twenty-one (21) days        Victor E. Bianchini.
before the Rule 16 conference, confer to jointly address each     ·The 1211612011 rcvaion rctlcctS Hon. Gary l . Sha!JIC as Chief Judge.
                                                                  ·The 211012012 n:vi.ion added Magislralc Judge l"llb-ese Wtley Dancks.
item contained in the attached Case Management Plan               ·The 9/ l/2012 rrnoion added Magistnte Judge Chnstian F. HUIIIIIItl.
packet. The completed plan is to be filed with the clerk not      ·The 1011/2012 revision reflects the retiremen1 ofSetuof Judge Neal P. MeCum.
                                                                  ·The I0/2512013 revision includ<' informatJon on Mandatory Mediation· S« Gen.Order ~7
later than seven (7) days prior to the conference date. The       ·The 111412013 revi.ion includes clwlges to dc:adhncs for mandatory disclosures under Fed.
                                                                  Rule 26(•). and changes the date for the filing of lhc: CtVll case management plan ftom I 4 days
NOTICE setting the date, time, and location for the initial       prior to the conference 1o 7 da~ prior to the confcrenc:e.
Rule 16 conference with the court is included as part of this     • The 1212912014 rcviolion added US. District Jud&e Bm~da K. SOMes.
                                                                  • The IO/ J/201Srevision reflects Hon. Glenn T Suddabyas CltiefJudgc, added Magistrate Judge
filing order. Mandatory disclosures under Fed. R. Civ. P.         Daniel J Stewart. and retlcc:ts the retirement of Hon. Randolph F. Treece.
26(a) shall be exchanged at least seven(7) days prior to the      ·The 1/112016 revision reflec:ts Hon. Gary L Sharpe laking senior status.
                                                                  • The 612312016 n:vision telatesco amended 0 0 1147 Mandalory Mc:d~alion Pro8J!Un.
conference date, unless the parties have obtained prior           • The 7123/19 revision added Masulrlltc Judge Lome and removed MagtSirtlte Judge Peebles.
approval from the assigned Magistrate Judge to extend that
deadline. The Civil Justice Reform Act Plan of this court
requires the court to set ""early, firm"" trial dates, such
that the trial is scheduled to occur within eighteen(lS)
months after the filing of the complaint, unless a judicial
officer certifies that (I) the demands of the case and its
complexity make such a trial date incompatible with serving
the ends ofjustice; or (ll) the trial cannot reasonably be held
within such time because of the complexity of the case or the
number or complexity of pending criminal cases.




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                                  CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK



 Jane Doe, et al.

                                                                             No. 1:20-CV-0840 BKS/CFH
   vs
 Howard Zucker, ct al.



IT IS HEREBY ORDERED that, Pursuant to Ru1e16(b), Federal Rules of Civil Procedure, a status and
scheduling conference will be held in this case before the Honorable CHRISTIAN F. HUMMEL, United
States Magistrate Judge on November 16, 2020, at 9:00AM at the United States Courthouse, at Room
Number 441 ,Albany, New York.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to confer
in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below, no later than
twenty-one (21) days before the scheduled Rule 16 Conference. Following that Rule 26(f) meeting, a report
of the results of the conference, in the format set forth below, must be filed with the clerk no later than seven
(7) days prior to the scheduled Rule 16 conference with the Court. Matters which the Court will discuss at
the status conference will include the following: (insert a separate subparagraph as necessary if parties
disagree):

1) JOINDER OF PARTIES: Any application to join any person as a party to this action shall be made on
or before the    day of _ _ _ _ _ _ _ _ _ _ _ __

2) AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall be made
on or before the day of _ _ _ _ _ _ _ _ _ _ __

3) DISCOVERY: All discovery in this action shall be completed on or before the     day of
- - - - - - - --' _ _ _ _ _. (Discovery time table is to be based on the complexity of the
action)

4) MOTIONS: All motions, including discovery motions, shall be made on or before the day of
- - - - - - - - _ _ _ _ _,. (Non-Dispositive motions including discovery motions may only
be brought after the parties have complied with Section IX of General Order #25)




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5) PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready to proceed
to trial on or before the     day of                      ,             . It is anticipated that the trial will
take approximately        days to complete. The parties request that the trial be held in _ _ _ _ __
N.Y. (The proposed date for the commencement of trial must be within 18 months of the filing date).

6) HAVE THE PARTIES FILED A JURY DEMAND: _ _(YES) I _ _(NO).

7) DOES THE COURT HAVE SUBJECT MAITER JURISDICTION? ARE THE PARTIES
SUBJECT TO THE COURT'S JURISDICTION? HAVE ALL PARTIES BEEN SERVED?




8) WHAT ARE THE FACTUAL AND LEGAL BASES FOR PLAINTIFF'S CLAIMS AND
DEFENDANT'S DEFENSES (INCLUDE COUNTERCLAIMS & CROSSCLAIMS, IF
APPLICABLE)?




9) WHAT FACTUAL AND LEGAL ISSUES ARE GENUINELY IN DISPUTE?




10) CAN THE ISSUES IN LITIGATION BE NARROWED BY AGREEMENT OR BY MOTIONS?
ARE THERE DISPOSITIVE OR PARTIALLY DISPOSITIVE ISSUES APPROPRIATE FOR
DECISION ON MOTION?




11) WHAT SPECIFIC RELIEF DO THE PARTIES SEEK? WHAT ARE THE DAMAGES
SOUGHT?




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12) DISCOVERY PLAN:

     A.     Mandatory Disclosures

     The parties will exchange the mandatory disclosures required under Rule 26(a)(l) at least
     seven (7) days prior to the date of the Rule 16 conference, unless they have obtained prior
     approval from the assigned Magistrate Judge to extend that deadline.


     B.     Subjects of Disclosure

     The parties jointly agree that discovery will be needed to address the following subjects:




     C.     Discovery Sequence

     Describe the parties' understanding regarding the timing of the discovery, and state whether
     it is anticipated that discovery will be phased to address different issues in stages.




    D.      Written Discovery

    Describe the written discovery demands which the parties contemplate serving under Rules
    33,34 and 36, including when they will be promulgated, the areas to be covered, and whether
    there is any need for any party to exceed the number of interrogatories permitted under Rule
    33.




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E.      Depositions

Set forth the parties' expectations regarding depositions, including the approximate number
to be taken, their location, a general description of the deponents, and an indication of
whether any non-party fact depositions are anticipated.




F.      Experts

Set forth the parties' expectations regarding the retention of experts, and identify any
particular issues to be addressed by the court concerning the retention and exchange of the
information regarding experts, including whether the parties seek a variance from the expert
disclosure requirements of the form uniform pretrial scheduling order typically issued by the
court (i.e., initial expert disclosure at least ninety days, responsive expert disclosures at least
forty-five days, and rebuttal reports due at least thirty days, before the close of discovery).




G.      Electronic Discovery

Set forth the parties' understanding and expectations regarding discovery of electronically
stored information. This description should include any agreements reached with respect to
the retention of electronically stored information and the manner in which it will be
produced, ifrequested. The parties should also identify any agreements regarding the manner
in which electronically stored information subject to claims of privilege or work product
protection will be handled, and whether a court order will be requested, either on stipulation
or otherwise, to address this issue. lf an agreement has been reached on the entry of such an
order, provide a brief description of the provisions which will be included in a proposed
order.




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         H.      Protective Orders

         If the parties anticipate requesting a protective order from the court pursuant to Rule 260 ),
         describe the basis for the request and nature of the proposed protective order.




         I.     Anticipated Issues Requiring Court Intervention

         Provide a brief description of any discovery related issues which, the parties reasonably
         anticipate, may require court intervention.




13) IS IT POSSIBLE TO REDUCE THE LENGTH OF TRIAL BY STIPULATIONS, USE OF
SUMMARIES OR STATEMENTS, OR OTHER EXPEDITED l\1EANS OF PRESENTING EVIDENCE?
IS IT FEASIBLE AND DESIRABLE TO BIFURCATE ISSUES FOR TRIAL?




14) ARE THERE RELATED CASES PENDING BEFORE THE JUDGES OF THIS COURT?




15) IN CLASS ACTIONS, WHEN AND HOW WILL THE CLASS BE CERTIFIED?




16) WHAT ARE THE PROSPECTS FOR SETTLEMENT? Please circle below the prospect for settlement:

                         1-2-3--4-5-6-7-8-9-10
                   (VERY UNLIKELY)-t -t -t -t -t -t -t -t -t -t -t -t (LIKELY)

     CANNOT BE EVALUATED PRIOR TO _ _ _ _ _ _ _ _(DATE)




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HOW CAN SETTLEMENT EFFORTS BE ASSISTED?


(Do not indicate any monetary amounts at this time, settlement will be explored by the Magistrate Judge at the
time of the initial status conference)

COMPLETE QUESTION 17 ONLY IF YOUR FILING ORDER COVER SHEET WAS CHECKED AS AN
ADR TRACK CASE- Subject to Mandatory Mediation under General Order #47.

17) IF YOUR CASE WAS SELECTED AS A QUALIFYING MANDATORY MEDIATION CASE,
CONFIRM THAT YOU HAVE:

       A.       Reviewed General Order #4 7?        YES / NO

       B.       Reviewed the List ofCoun Approved Mediators available on the NDNY website?                 YES / NO

       C.       Prepared to discuss with the Court, at the conference, whether your case should be opted
                out of the program?        YES I NO

       D.       Discussed the time frame needed to complete Mandatory Mediation?       YES I NO

****************************************************************************************
Pursuant to Fed. R. Civ. P. 26(f) a meeting was held on - - - - - - at _ _ _ _ _ _ _ _ _and was
attended by:                                             (Date)               (Place)
_ _ _ _ _ _ _ _ _ _ _ _for plaintiff(s)

_ _ _ _ _ _ _ _ _ _ _ _fordefendant(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                    (party name)
_ _ _ _ _ _ _ _ _ _ _ _for defendant(s)--------------~-----
                                                                                                    (party name)
At the Rule I 6(b) conference, the Court will issue an order directing the future proceedings in this action. The
parties are advised that failure to comply with this order may result in the imposition of sanctions pursuant to
Federal Rules of Civil Procedure I 6(f).

Please detach this case management plan form and file electronically with the clerk no later
than seven (7) days in advance of the conference date.




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                                   CASE ASSIGNMENT FORM

                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK


CIVIL ACTION NUMBER         J :20-CV-0840, BKS/CFH

ALL CORRESPONDENCE AND FILINGS SHOULD BEAR THE INITIALS OF THE ASSIGNED JUDGE AND
MAGISTRATE nJDGE IMMEDIATELY FOLLOWING THE CIVIL ACTION NUMBER.
(IE: CIVIL ACTION NO 5: 15-CV-0123, NAM-DJS)

DOCUMENTS SHOULD BE Fll..ED IN ACCORDANCE WITH GENERAL ORDER #22.

      ACTION ASSIGNED TO THE ruDGE AND MAGISTRATE JUDGE CHECKED BELOW:

                                                                              INITIALS
              X          JUDGE BRENDA K. SANNES                                 (BKS)

              X          MAGISTRATE JUDGE CHRISTIAN F. HUMMEL                       (CFH)


                               PRO SE LITIGANTS:
         SEND ALL ORIGINAL PAPERS TO THE CLERK'S OFFICE LISTED BELOW:

                                Clerk, U.S. District Court
                                Federal Building & Courthouse
                                P.O. Box 7367
                                Syracuse NY 13261-7367

                  All papers filed with the Court must conform to Local Rule 10.1


                                        -COUNSEL-

             ALL DOCUMENTS SHALL BE FILED ELECTRONICALLY
                     ON THE COURT'S CM/ECF SYSTEM

                PLEASE REFER TO GENERAL ORDER #22
       FOR PROCEDURES FOR FILING DOCUMENTS ELECTRONICALLY




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ALL NON-DISPOSITIVE MOTIONS ARE TO BE MADE RETURNABLE ON A SUBMIT BASIS BEFORE
THE ASSIGNED MAGISTRATE JUDGE. *PLEASE REFER TO LOCAL RULE 7. l(b)l.* ALL MOTIONS
FILED AND MADE RETURNABLE BEFORE MAGISTRATE JUDGES WILL BE TAKEN ON A
SUBMITBASISUNLESS:THEPARTIESREQUESTORALARGUMENTAND/ORTHECOURTDIRECTS
THE PARTIES TO APPEAR FOR ORAL ARGUMENTS.




                              For more specific schedules please visit our website at:
                                           www .nynd.uscourts.gov


                                  MONTHLY MOTION SCHEDULES


JUDGE BRENDA K. SANNES                                     MAGISTRATE JUDGE CHRISTIAN F. HUMMEL
10:00 A.M.- lsr AND 3ROTHURSDAY OF EACH                    9:30A.M.- 3RD THURSDAY OF EACH MONTH AT
MONTH AT SYRACUSE. No oral argument on                     ALBANY. No oral argument on scheduled motion return
scheduled motion return date, unless Judge Sannes'         date, unless Judge Hummel's chambers sua sponte directs
chambers sua sponte directs or grants the request of any   or grants the request of any party for oral argument.
party for oral argument.




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                                        CONSENT TO THE EXERCISE
                                OF CML JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636(0), you are hereby notified that the United States Magistrate
Judges of this district court, in addition to their other duties, may, upon consent of all the parties in a civil case, conduct any
or all proceedings in the case, including a jury or non jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States Magistrate Judge for
disposition is entirely voluntary and should be indicated by counsel endorsing the attached consent form for the plaintiff(s)and
defendant(s). If the form is executed by all counsel for the parties (or by the parties if appearing pro se), it should be
communicated solely to the clerk of the district court. ONLY if all the parties to the case consent to the reference to a
magistrate judge will either the judge or magistrate judge to whom the case has been assigned be informed of your decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar requirements of the court.
Accordingly, the district judge to whom your case is assigned must approve the reference of the case to a magistrate judge
for disposition.

In accordance with 28 U.S.C. Section 636©) (3), an appeal from a judgment entered by a magistrate judge will be taken to
the United States Court of Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a
district court. See Also LR. 72.2(b)(S).




       Copies of the consent form are available in any office of the clerk of the court and on the court webpage at
                                                www.nynd. uscourts.gov




                **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**




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                                              UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District ofNew York



Jane Doe, et al.

        v.                                                         Civil Action No.: 1:20-CV-0840 (BKS/CFH)

Howard Zucker, et al.


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice ofa magistrate judge 's availability. A United States magistrate j udge of this court is available to conduct all proceedings
in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed directly
to the United States court ofappeals like any other judgment of this court. A magistrate judge may exercise this authority only ifall parties
voluntarily consent.

        You may consent to bave your case referred to a magistrate judge, or you may withhold your consent without adverse substantive
consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved with your
case.

        Consent to a magistrate judge 's authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including the trial, the entry of a final judgment, and all post-trial proceedings.

         Parties' printed names                   Signatures ofparties or attorneys                               Dates




                                                          REFERENCE ORDER

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order the entry of a final
judgment in accordance with 28 U.S.C. §636C) and Fed. R. C iv. P. 73.

Date: - -- - -- - -
                                                                                       District Judge's signature


                                                                                       Printed name and title


NOTE: Return this form to tbe clerk ofthe court only ifyou are consent to the exercise ofjurisdiction by a United States magistrate judge.
      Do not return this form to a judge.
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                        NOTICE TO PARTIES OF COURT-DIRECTED
                          MANDATORY MEDIATION PROGRAM


You are receiving this Notice because your case has been referred into the Court's Mandatory
Mediation Program.

Counsel are directed to carefully review the Mandatory Mediation Plan and the requirements
contained therein (General Order #47), prior to the Rule 16 Conference.

All inquiries regarding the Mandatory Mediation Program should be directed to:

                                      Nicole Eallonardo
                                 ADR Program Administrator
                                      U.S. District Court
                              James M. Hanley Federal Building
                                        P.O. Box 7367
                                     100 S. Clinton Street
                                 Syracuse, New York 13261
                                  Telephone: 315-234-8603
                        email: Nicole_ Eallonardo@nynd. uscourts.gov
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  Sujata Sidhu Gibson, Esq.              Michael Sussman, Esq.       Robert F. Kennedy, Jr. Esq.
  The Gibson Law Finn, PLLC              Sussman & Associates        Mary Holland, Esq.
  PO Box430                              I Railroad Ave, Suite 3     Children's Health Defense
  Ithaca, NY 14851                       PO Box 1005                 1227 Peachtree Parkway, Suite 202
  Tel: (607) 327-4125                    Goshen, NY I0924            Peachtree, GA 30269
  Fax: (607) 238-4689                    (845) 294-3991              mary.holland@childrenshealthdefense.org
  sujata@gibsonfinn.law                  sussman I @frontiemet.net


Attorneys for Plaintiffs and Proposed P/aintiffC/ass


                              UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

JANE DOE on behalf of herself and her minor Case No.:
child; JANE BOE, Sr. on behalf of herself and
her minor child; JOHN COE, Sr. and JANE
COE, Sr. on behalf of themselves and their    CLASS ACTION COMPLAINT
minor children; JOHN FOE, Sr. on behalf of
himself and his minor child; JANE GOE, Sr. on
behalf of herself and her minor child; JANE
LOE on behalf of herself and her medically
fragile child; JANE JOE on behalf of herself
and her medically fragile child; CHILDRENS
HEALTH DEFENSE, and all others similarly
situated,

                 Plaintiffs,

                           vs.

HOWARD ZUCKER, in his official capacity as
Commissioner of Health for the State of New
York; ELIZABETH RAUSCH~PiruNG, M.D.,
in her official capacity as Director of the Bureau
of Immunizations at the New York State
Department of Health; the NEW YORK STATE
DEPARTMENT OF HEALTH; THREE
VILLAGE CENTRAL SCHOOL DISTRICT;
CHERYL PEDISICH, acting in her official
capacity as Superintendent, Three Village
Central School District; CORINNE KEANE,
acting in her official capacity as Principal, Paul
J. Gelinas Jr. High School, Three Village
Central School District; LANSING CENTRAL
SCHOOL DISTRICT· CHRIS

CLASS ACTION COMPLAINT- I
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  PETIOGRASSO, acting in her official capacity
 as Superintendent, Lansing Central School
 District; CHRISTINE REBERA, acting in her
 official capacity as Principal, Lansing Middle
 School, Lansing Central School District;
 LORRI WHITEMAN, acting in her official
 capacity as Principal, Lansing Elementary
 School, Lansing Central School District;
 PENFIELD CENTRAL SCHOOL DISTRICT;
 DR. THOMAS PUTNAM, acting in his official
 capacity as Superintendent, Penfield Central
 School District; SOUTH HUNTINGTON
 SCHOOL DISTRICT; DR. DAVID P.
 BENNARDO, acting in his official capacity as
 Superintendent, South Huntington School
 District; BR. DAVID MIGLIORINO, acting in
 his official capacity as Principal, St. Anthony's
 High School, South Huntington School District;
 ITHACA CITY SCHOOL DISTRICT; DR.
 LUVELLE BROWN, acting in his official
 capacity as Superintendent, Ithaca City School
 District; SUSAN ESCHBACH, acting in her
 official capacity as Principal, Beverly J. Martin
Elementary School, Ithaca City School District;
SHENENDEHOWA CENTRAL SCHOOL
DISTRICT; DR. L. OLIVER ROBINSON,
acting in his official capacity as Superintendent,
Shenendehowa Central School District; SEAN
GNAT, acting in his official capacity as
Principal, Koda Middle School, Shenendehowa
Central School District; ANDREW HILLS,
acting in his official capacity as Principal~
Arongen Elementary School, Shenendehowa
Central School District; COXSACKIE-
ATHENS SCHOOL DISTRICT; RANDALL
SQUIER, Superintendent~ acting in his official
capacity as Superintendent, Coxsackie-Athens
School District; FREYA MERCER, acting in
her official capacity as Principal, Coxsackie-
Athens High School, Coxsackie-Athens School
District; ALBANY CITY SCHOOL
DISTRICT; KAWEEDA G. ADAMS, acting in
her official capacity as Superintendent, Albany
City School District; MICHAEL PAOLINO,
actin in his official ca aci as Princi


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 William S. Hackett Middle School, Albany City
 School District; and all others similarly situated

                Defendants.



                                        INTRODUCTION

    1. This lawsuit arises because the above-named defendants and their similarly situated

colleagues have adopted policies, procedures, and practices which arbitrarily narrow and place

unreasonable burdens on the availability of medical exemptions to the mandatory school

immunization requirements for medically fragile children who need them.

    2. As a result, hundreds of medically fragile children across New York State have been

expelled from school and denied vital services and programming after their medical exemptions

written by licensed treating physicians are overruled by school administrators with no medical

training.

    3. Decades ago, the New York State legislature adopted mandatory school vaccine

requirements for the primary purpose of protecting medically fragile children. The theory behind

the mandates is that if sufficient numbers of children are vaccinated against a disease, their

immunity will create a protective buffer, or "herd immunity," and thereby prevent disease from

reaching those children who cannot take the vaccine or for whom vaccination does not create

immunity.

    4. Every state in the country including New York, provides a medical exemption to the

mandatory vaccine requirements for school admission. New York's medical exemption is

codified in New York Public Health Law §2164[8], which states: "If any physician licensed to

practice medicine in this state certifies that such immunization may be detrimental to a child's




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 health, the requirements ofthis section shall be inapplicable until such immunization is found no

 longer to be detrimental to the child's health. ··

     5. On August 16, 2019, acting in his official capacity, defendant Howard Zucker, M.D.,

 issued "Emergency Regulations to Strengthen Medical Exemption Process for School

 Vaccinations." New York Codes, Rules and Regulations (10 NYCRR §66-1). These regulations

were signed into law on December 31 , 2019.

    6. These new medical exemption regulations, and the policies and practices of the above-

named defendants in implementing them, place undue burdens on the availability of a medical

exemption for deserving medically fragile children, effectively disabling it for all but an

arbitrarily narrow subset of children.

    7. First, a new subdivision (l) of section 66-1 .1 takes the determination of what "may be

detrimental to the child's health" away from the treating physician.

    8. Rather than allow physicians to exercise their clinical judgment, the regulations as they

are applied narrowly define the allowable reasons for a medical exemption to medical

"contraindications or precautions'· listed under the Center for Disease Control' s Advisory

Committee for Immunization Practices guidance ("ACIP Guidance").

    9. However, the ACIP guidance is not comprehensive and was never intended to serve as a

basis for granting or denying medical exemption. The CDC itself has clearly stated that the ACIP

guidance is not meant to replace the clinical judgment of a treating physician.

    10. Hundreds of additional reasons exist which could put some children at substantial risk of

harm as indicated by the long list of precautions and known adverse reactions listed in

manufacturers' inserts, the long list of injuries and conditions compensated by the Vaccine Injury




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Compensation Program, and the Institute of Medicine reports that clearly and expressly

acknowledge subpopulations who have a pre-existing susceptibility to serious adverse reaction.

    11. Second, the new regulations give school principals, who do not generally have any

medical or legal training, authority to overrule treating physicians.

    12. If the principal does not agree or understand how the exemption written by the treating

physician fits into the complicated recommendations set forth by ACIP, the regulations allow

and encourage them to overrule the treating physician and demand that the medically fragile child

either get the contraindicated immunizations or leave school.

    13. The new regulations do not require that the school principal consult with any medical

professionals before overruling treating physicians and denying a medical exemption.

    14. When principals do consult with professionals, the consulting physicians typically have

never met the child in question, never conducted a medical examination, have not spoken to the

family or gathered the child's or the family's medical history, and have not consulted with the

child's treating physicians.

    15. Third, the new regulations contain overburdensome requirements for doctors and are

being implemented in a manner that deters physicians from writing medical exemptions, even

after they have concluded that an immunization is unsafe for the child.

    16. Children who have had medical exemptions to immunization for years are now suddenly

unable to find a physician willing to submit him/herself to the burdens and intimidation imposed

upon physicians who write exemption letters.

    17. The number of vaccines that was originally mandated was small and generally tracked

pandemics. Under the law today, depending on the region of the state where the child resides,

students in any public, private, or parochial school or daycare program must receive at least



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twenty six doses of vaccines between birth and the age of eighteen or forego an education. New

 York Public Health Law§ §2164(2][a]. New mandated immunizations are being proposed every

year.

    18. Many of the mandatory vaccines on the current schedule do not provide protection for

anyone but the recipient. This category of vaccines can mitigate symptoms but cannot stop

replication and transmission of infectious disease.

    19. Even for those vaccines that may provide "sterilizing immunity" and prevent

transmission, there is little evidence that the current number of students seeking a medical

exemption could pose any significant threat to the community.

    20. The potential risk to these children, on the other hand, has been documented by licensed

treating physicians as serious enough that the physicians have recommended against one or more

of the mandated vaccines.

    21. The adoption of the procedures and policies prompted by the NYSDOH Regulations has

forced hundreds ofNew York families to act in a manner contrary to their doctor's advice about

what is safe and appropriate for their child or lose the right to give their child an education.

    22. The law is unconstitutional on its face and has the effect of depriving parents and children

of a multiple fundamental constitutional rights and even internationally recognized human rights.

    23. Since the new regulations were enacted, multiple successful lawsuits have been brought

on behalf of individual plaintiffs challenging the arbitrary denial of their child's medical

exemptions. However, hundreds of other children who lack the resources to pursue an individual

suit remain unable to get relief.

   24. These medically fragile children are the very children the vaccination mandates were

primarily enacted to protect.



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    25. It is well established by peer reviewed science that some children cannot safely receive

immunizations. It is vital that children be allowed to follow the advice of their doctors and that

their parents maintain the right of informed consent in accordance with the advice of medical

professionals that they trust given these known risks.

    26. Plaintiffs seek a declaration from this Court affirming that their rights have been violated

and entry of a permanent injunction against future infringement on their rights to obtain a medical

exemption from immunization.

    27. The barriers and burdens placed on the medical exemption process in New York through

the new regulations are unconstitutional both on their face and as applied.

                                JURISDICTION AND VENUE

    28. This is a civil action seeking injunctive relief and damages for the continuing violation of

plaintiffs' rights arising under the Fifth and Fourteenth Amendment to the United States

Constitution as made actionable pursuant to 42 U.S.C. sec. 1983.

    29. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343(3) and (4)

and 2201, 220l(a) and 2202 and 42 U.S.C. sections 1983 and 1988 and supplemental jurisdiction

over Plaintiffs' state law claims pursuant to 28 U.S.C. §1367.

    30. Venue is appropriate as the alleged unconstitutional acts occurred in the Northern District

of New York, along with other districts in New York, and some of the plaintiffs and defendants

reside in the Northern District of New York.

                       CLASS ACTION ALLEGATIONS PLAINTIFFS

    31. Plaintiffs, include families of medically fragile children whose medical exemption has

been denied or subjected to overburdensome harmful requirements, along with Children's Health

Defense, a national not-for-profit organization dedicated to advocating for the safety of children



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 and whose members include families who are deleteriously impacted by the policies, procedures

and practices of the defendants and their agents regarding the medical exemption in New York.

    32. Plaintiffs seek certification of this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and 23(b )(2) on behalf of the named plaintiffs and the following class: parents

of medically fragile children residing in New York State whose licensed medical providers have

indicated or certified that one or more of the vaccines required for school admission in New York

might be harmful to the child' s health and who have thereafter submitted a medical exemption to

a school in New York State and faced unreasonable burdens or denial as a result of the challenged

actions of the defendants, their agents and assigns.

    33. Named plaintiff assert claims which are common and typical of the claims possessed by

other similarly situated persons too numerous to be individually joined in this matter.

    34. These common questions predominate over more individualized determinations because

the relief plaintiffs seek relates to defendants' practices and policies which affect or may affect

each purported class member.

    35. The participation of each class member is not required for the efficient and fair resolution

of the issues raised herein.

    36. Plaintiffs are represented by competent counsel who have experience representing large

classes and litigating on their behalves.

    37. Proposed class representatives have no conflicts with other class representatives, with

class members or counsel. The named class members will fairly and adequately represent the

interests of the class.

    38. Each named plaintiff possesses a strong personal interest in the subject matter and the

primary relief sought is declaratory and injunctive relief from arbitrary and unconstitutional



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policies, procedures and practices of defendants which harm all class members in a similar

manner.

      39. Absent class certification, there is a possibility of inconsistent results affecting class

members.

                       CLASS ACTION ALLEGATIONS DEFENDANTS

40.      Defendants, include the New York State Department of Health, it's agents and assigns,

including HOWARD ZUCKER, in his official capacity as Commissioner of Health for the State

ofNew York, ELIZABETH RAUSCH-PHUNG, M.D., in her official capacity as Director of the

Bureau of Immunizations at the New York State Department of Health, named and unnamed

implementing school districts, along with their agents and assigns, and individually named

building principals and superintendents acting in their official capacities as employees of said

school districts. Attorneys for the plaintiffs seek certification of a class of defendants pursuant to

Federal Rule of Civil Procedure 23(a) and 23(b )(2) including all implementing school districts,

building principals and superintendents that have implemented the regulations of the New York

State Department of Health in a manner which has unreasonably burdened the ability of one or

more member of the members of the plaintiff class in this action to obtain medical exemptions

for their children pursuant to the advice of their licensed medical providers.

                                             PARTIES

      A. PLAINTIFFS

41.      Plaintiffs are parents and their minor children who have sought medical exemptions from

one or more mandatory immunization requirement for school attendance in New York State based

on the advice of their treating physicians that such immunization poses unacceptable risks to their

children's health, qualifying them for a medical exemption from otherwise required vaccinations.



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42.      Jane Doe is the mother of John Doe, a fifteen-year-old boy with multiple auto-immune

and progressive neurological disease diagnoses who resides with his parents in Greene County,

New York in the Coxsackie-Athens School District. John has been denied an education since

October 7, 2019 despite having submitted medical exemptions with certifications from two

licensed physicians detailing why immunization would not be safe for him.

43.      Jane Boe, Sr. is the mother of Jane Boe, a fifteen-year-old girl with multiple diagnosed

autoimmune syndromes and health challenges, including autoimmune encephalitis, which causes

progressive neurological injury and attacks the brain. Jane and her siblings have all had severe

adverse reactions to immunization. Jane's eldest brother died of complications from

immunization. Jane has been unable to attend school since January, 2020, despite submitting

medical exemptions from three licensed physicians who have indicated that she is at risk of harm

and an admission from the reviewing school district doctor that though he felt he had to deny the

exemption request, he would not recommend immunizing Jane either. Jane lives with her parents

and her surviving brother in the Three Village Central School District in New York.

44.     John Coe, Sr. and Jane Coe, Sr. are the parents of Jane Coe (age twelve) and John Coe

(age ten), two medically fragile children who live in the Lansing Central School District in New

York. Due to a family history of severe reaction to immunization, including two deaths, along

with subsequent genetic testing that reveals genetic vulnerability to injury, the children have never

been vaccinated. Jane and John have been excluded from school since January 2020 after the

medical exemption submitted by a licensed physician and genetic counselor was denied without

explanation.

45.     John Foe, Sr. is the father of John Foe, an eleven-year-old boy with special needs who

suffers from Hirschsprung's Disease, a rare and serious genetic condition. John is so medically



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fragile and sensitive to chemicals and many medications that if he needs to take antibiotics, he

must be hospitalized first so that medical care can be given to treat the cascade of severe reactions

that ensue. On the advice of his pediatrician, John has not been vaccinated since he had a severe

reaction to immunization as a baby. He has been excluded from attending public school since

September 20 19 despite two submissions from his licensed treating pediatrician detailing the

severe risks that further immunization poses to him. The family resides in Albany, New York.

46.      Jane Goe, Sr. is the mother of Jane Goe, a seventeen-year old suffering from multiple

severe diagnosed autoimmune conditions. The family lives in the Penfield Central School

District, which denied exemption letters from her treating physician, requiring corroboration from

a specialist. The District then denied the subsequent exemption letter written by the chief of

endocrinology at the University of Rochester Hospital, stating that Jane would have to submit a

third corroborating letter from one of two particular specialists the school district doctor named

before the school would consider her exemption request;

4 7.     Jane Loe is the mother of John Loe, a fifteen-year-old severely ill boy who has had

medical exemptions from immunization since he was seven years old. John has been unable to

attend school since September 2019 despite the submission of medical exemptions written by two

highly regarded treating specialists. Before his removal, he attended the school in the South

Huntington School District in New York.

48.      Jane Joe is the mother of John Joe, a six year old boy with special needs residing in the

Ithaca City School District who has had accepted medical exemptions from immunization since

he suffered severe anaphylaxis to his hepatitis B vaccine as a baby. John's previously accepted

medical exemption was revoked in November 2019, when he was removed from school and




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 denied any of the extensive services which were promised to him under his Individualized

 Education Plan with the School District.

 49.      Plaintiff Children's Health Defense ("CHD") is a national not-for-profit membership

 organization of parents, advocates for children and attorneys. CHD's mission is and stop

environmental harms and to change policies that place children at risk.

50.       CHD accomplishes its mission by, among other things: providing resources, training, and

information to members to assist them in protecting the rights and health of their children;

educating the public and policymakers about the experiences of children with disabilities and their

families; and educating members about developments in the federal laws and policies affecting

the health of children;

51.      CHD has members located across the United States. Membership is open to all persons

who are interested in furthering CHD's purposes. The Board ofDirectors is composed exclusively

of CHD members. CHD has active members in New York, including parents of children named

in this lawsuit and eligible for class membership in this lawsuit.

52.      CHD's members also include attorneys and advocates who represent children with

medical exemptions to immunization. Defendant's practices in arbitrarily burdening and limiting

the right of families to follow the advice of their medical providers about what is safe for

medically fragile children's health has made achieving this mission more difficult, time-

consuming, and resource-intensive for these members. These attorneys and advocates have

expended time and resources they would have devoted to other work on behalf of medically

fragile children in order to respond to requests for assistance concerning the inappropriate denial

or unconstitutionally burdensome requirements placed on the medical exemption process in New

York.



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53.      CHD brings this action on behalf of its active members who have children in the Plaintiff

class or who represent a child in the Plaintiff class as an attorney or advocate.

54.      Plaintiffs seek to certify a class of all similarly situated families who have been subjected

to unconstitutional burdens on the medical exemption application process in New York.

B. DEFENDANTS

55.      Defendant Howard Zucker, M.D., (Dr. Zucker), is the duly appointed Commissioner of

the Department of Health for the State of New York. He is sued in his official capacity and

conducts business in this judicial district.

56.      Defendant Elizabeth Rausch-Phung, M.D., (Dr. Rausch-Phung), is the Director of the

Bureau oflmmunizations at the New York State Department of Health. She is sued in her official

capacity and conducts business in this judicial district.

57.      Defendant New York State Department of Health (NYSDOH) is the administrative

agency in the executive branch of the New York State government. NYSDOH has authority to

promulgate rules and regulations pursuant to Article 2 of the State Administrative Procedures Act

(SAPA). It conducts business·in this judicial district and as a department of the state of New York

may be sued pursuant to 42 U.S.C. section 1983 for declaratory and injunctive relief.

58.      The Three Village School District is a municipal corporation organized pursuant to the

laws of the State ofNew York and it may sue and be sued.

59.      Cheryl Pedisich is the Superintendent of the Three Village Central School District and is

sued in her official capacity for actions and omissions she engaged in as a state actor and under

color of state law.




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 60.      Corinne Keane is the Principal of Paul J. Gelinas Jr. High School in Three Village Central

 School and is sued in her official capacity for actions and omissions she engaged in as a state

 actor and under color of state law.

 61.     The Lansing Central School District is a municipal corporation organized pursuant to the

 laws of the State ofNew York and may sue and be sued.

62.      Chris Pettograsso is the Superintendent of the Lansing Central School District and is sued

in her official capacity for actions and omissions she engaged in as a state actor and under color

of state law.

63.      Lorri Whiteman is the Principal of Lansing Elementary School and is sued in her official

capacity for actions and omissions she engaged in as a state actor and under color of state law.

64.      Christine Rebera is Principal of Lansing Middle School and is sued in her official capacity

for actions and omissions she engaged in as a state actor and under color of state law.

65.      The Penfield Central School District is a municipal corporation organized pursuant to the

laws of the State ofNew York and may sue and be sued.

66.      Dr. Thomas Putnam is the Superintendent of the Penfield Central School District and is

sued in his official capacity for actions and omissions he engaged in as a state actor and under

color of state law.

67.      The South Huntington School District is a municipal corporation organized pursuant to

the laws of the State ofNew York and it may sue and be sued.

68.      Dr. David P. Bennardo is the Superintendent of the South Huntington School District and

is sued in his official capacity for actions and omissions he engaged in as a state actor and under

color of state law.




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69.       Brother David Migliorino is the Principal of St. Antony's High School in the South

 Huntington School District and is sued in his official capacity for actions and omissions he

engaged in as a state actor and under color of state law.

70.       The Ithaca City School District is a municipal corporation organized pursuant to the laws

of the State ofNew York and it may sue and be sued.

71.       Dr. Luvelle Brown is the Superintendent of the Ithaca City School District and is sued in

his official capacity for actions and omissions he engaged in as a state actor and under color of

state law.

72.       Susan Eschbach is the Principal of Beverly J. Martin Elementary School in the Ithaca City

School District and is sued in her official capacity for actions and omissions she engaged in as a

state actor and under color of state law.

73.       The Shenendehowa Central School District is a municipal corporation organized pursuant

to the laws of the State of New York and it may sue and be sued.

74.       Dr. L. Oliver Robinson is the Superintendent of the Shenendehowa Central School District

and is sued in his official capacity for actions and omissions he engaged in as a state actor and

under color of state law.

75.       Sean Gnat is the Principal ofKoda Middle School in Shenendehowa School District and

      is sued in his official capacity for actions and omissions he engaged in as a state actor and

      under color of state law.

76.      Andrew Hills is the Principal of Arongen Elementary School in Shenendehowa School

      District and is sued in his official capacity for actions and omissions he engaged in as a state

      actor and under color of state law.




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77.       The Coxsackie-Athens School District is a municipal corporation organized pursuant to

the laws of the State ofNew York and it may sue and be sued.

78.       Randall Squier is the Superintendent of the Coxsackie-Athens School District and is sued

in his official capacity for actions and omissions he engaged in as a state actor and under color of

state law.

79.       The Albany City School District is a municipal corporation organized pursuant to the laws

of the State ofNew York and it may sue and be sued.

80.       Kaweeda G. Adams is the Superintendent of the Albany City School District and is sued

in his official capacity for actions and omissions he engaged in as a state actor and under color of

state law.

81.       Michael Paolino is the Principal of William J. Hackett Middle School in Albany City

School District and is sued in his official capacity for actions and omissions he engaged in as a

state actor and under color of state law.

82.       Plaintiffs seek to certify a defendant class of school principals, superintendents and school

districts which have implemented the challenged policies and practices against one or more of the

plaintiff class.

                                                FACTS

83.       Defendants and their agents have adopted state-wide policies and procedures that are

      placing unconstitutional burdens on families of medically fragile children and subjecting them

      to unjustifiable risk of harm. The individual experiences of the following named plaintiffs are

      representative of what is happening to hundreds of medically fragile children across New

      York State.

                                                 Joltn Doe



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 84.      John Doe ("John") is a fifteen-year-old boy who resides with his parents Jane Doe and

John Doe, Sr. in the Coxsackie-Athens School District in New York.

85.       John' s diagnoses include: mitochondrial disorder, hypoglycemia, genetic mutations,

environmentally induced porphyria, metabolic and hormonal imbalances, eczema, food and

environmental allergies, candida infection, amino acid disorder, heavy metal toxicity, and several

autoimmune disorders- including Pediatric Autoimmune Neurological Disorder Associated with

Streptococcus ("PANDAS"), Irritable Bowel Syndrome ("IBS"), thyroid disease, and Gluten-

Sensitive Enteropathy.

86.       John's conditions are chronic, incurable and at times debilitating. Before the family found

a specialist able to treat him, the family had significant problems maintaining normal routines and

John was unable to consistently attend or remain in early childhood programs.

87.       'When John was four, his parents began seeing a specialist in Massachusetts known to help

children with PANDAS. Through years of hard work and vigilant routines by his parents and

providers, John has begun to stabilize and regain some measure of health and normalcy.

88.      Avoiding triggers, including certain foods, chemicals, and immunizations, has been

critical to prevent regression of one or more of John's auto-immune diseases and in managing his

disorders.

89.      Following the advice of multiple treating physicians, John has not received any

immunizations.

90.      On August 23, 2019, John's parents submitted a medical exemption from John's

pediatrician, Or. Peter Forman ("Dr. Forman"), a licensed New York physician who has been

John's primary care physician for more than ten years. Dr. Forman included a supplemental letter




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 from Dr. Papanicolaou ("Dr. Papanicolaou"), Jotm's treating physician at the Massachusetts

clinic he has attended for eleven years.

91.      Both treating physicians have seen John regress into debilitating flare ups of his

underlying medical conditions when faced with immune triggers. Both doctors concurred that it

was unsafe for John to receive any immunization given his multiple chronic and serious

conditions and the risk that immunization could trigger a regression.

92.      On September 16, 2019, the school denied the medical exemption based on the opinion of

Dr. Stephen G. Hassett ("Dr. Hassett"), an emergency medicine physician who acts as a paid

consultant to the Coxsackie-Athens Central School District.

93.      Dr. Hassett recommended denying the exemption based on his opinion that the letters did

not specify how the exemption request qualified under the ACIP contraindications or precautions.

94.      Dr. Hassett does not specialize in treating any of John's medical conditions or even in

treating children.

95.     Before overriding John' s treating physicians' recommendations, Dr. Hassett never

examined John, called either of his treating physicians or reviewed any of his records other than

the exemption form and accompanying letters. In fact, Dr. Hassett refused the mother's request

to speak to John's pediatrician or review supplementary materials to clarify why the two treating

physicians believed that he needed a medical exemption.

96.     After the denial, Dr. Forman called Dr. Hassett. During this phone conversation, Dr.

Hassett indicated that he had no discretion to hear any supplemental information or support for

the exemption and was obligated to follow the strict guidelines set forth by ACIP.




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97.      On Saturday, October 5, 2019, the family submitted a second medical exemption letter in

which Dr. Forman detailed for each vaccine how the child's conditions qualified under the ACIP

guidance as a precaution or contraindication.

98.      Within twenty-four hours of receiving it, Dr. Hassett denied this second submission.

99.      When Jane Doe called regarding the second denial, Dr. Hassett conceded that the

exemption letter submitted the second time followed the ACIP guidelines verbatim.

I 00.    Nonetheless, he said he would not "debate" with Jane Doe or provide her with any

explanation about his denial and ended the call.

101.     To remain in school without a medical exemption, 10 NYCRR § 66-l.l(f)(l) required

John to be vaccinated according to the ACIP Schedule for ages 18 years or younger.

102.     ACIP's "catch-up guidance" requires E. Y. to receive twenty-four doses of vaccines for

ten separate diseases within twelve months.

I 03.    John would have to receive nineteen of the twenty-four doses within a four-week timeline.

104.     No safety studies exist evidencing that injecting twenty-four doses of vaccine into the

body of a fifteen-year-old child (much less a medically fragile child) within twelve months is

safe.

105.     Because the family could not risk John's health in this manner, the family did not comply,

and the school district expelled John.

106.     John has been excluded from participation in classes, in person or online since October 7,

2019. Before his exclusion from school, John was a member ofthe varsity tennis team and was

looking forward to trying out for the varsity volleyball team. He was an active member of several

social clubs and was on track to earn a Regents diploma.




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 107.   Now, in addition to being excluded from school and activities, John is not allowed to take

any further Regents exams or earn a traditional diploma, and so he will have to forego his Regent' s

diploma and even his and traditional high-school diploma unless legal relief is forthcoming.

108.    The loss of school and related services and socialization has devastated John and harmed

him and his family irreparably.

109.    The family hired an attorney to file an appeal with the Commissioner of Education on

their behalf on or about November 5, 2019. A member of the State Senate sent correspondence

to the Commissioner of Education supporting the appeal on or about December 20, 2019. This

letter indicated that the New York State legislature did not intend for school districts to have

unilateral power to overrule treating physicians. To date, no response to John's appeal has been

forthcoming and he remains unable to receive an education at any private or public school or to

participate in testing or activities.

                                            JaneBoe

110.    Jane Boe ("Jane") is a fifteen-year-old girl with multiple diagnosed autoimmune

    syndromes and health challenges, including autoimmune encephalitis, which causes

    progressive neurological injury and attacks the brain.

111 .   Jane lives with her parents, Jane Boe, Sr. and John Boe, and her older brother within the

    Three Village Central School District in New York.

112.    Jane has been diagnosed with autoimmune encephalitis, Postural Orthostatic Tachycardia

    Syndrome C'POTS"), dysautonomia, and chronic/severe Lyme disease and bartonelJa.

113.    Her health began to significantly deteriorate after her last set of immunizations at age

    twelve.




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 114.     Jane's siblings also suffered similar severe adverse reactions to immunization. Like Jane,

       both Jane's brothers developed autoimmune encephalitis and acute neurological

       neuropsychiatric conditions that were significantly exacerbated by immunization.

 115.     Much of Jane's childhood has been profoundly impacted by her and her siblings' medical

       fragility. Jane's middle brother became so ill that he was forced to take a medical leave from

       middle school to receive medical treatment and homebound instruction. It took several years

    of continuous treatment for him to regain his health.

116.      In 2016, Jane's oldest brother then age eighteen decided to receive the Meningococcal

    vaccine against medical advice prior to attending his freshman year in college. This, coupled

    with a flu vaccine and other immune assaults, are believed to have triggered an acute cascade

    of neurological and other health symptoms that ended with Jane's brother committing suicide

    in June 2018.

117.      Genetic testing shows vulnerabilities that may explain why all three children have

    developed chronic health conditions after immunization.

118.      Jane was not immunized for several years after her adverse reaction at age twelve. In July

    2017, she received the TDaP immunization to attend sleepaway camp. After this

    immunization, Jane's health began to deteriorate again.

119.      To date, Jane has received all the mandatory immunizations required of her except for the

    meningococcal vaccine and booster.

120.      Meningococcal vaccines are unable to provide anyone but the recipient with protection.

121.      Recent studies confirm that the meningococcal vaccine only has a protective effect on

    symptoms in the individual who receives the vaccine but cannot stop replication and

   transmission of disease.



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 122.     Jane's physicians determined that the risks of getting this vaccine far outweighed any

       potential benefit for Jane.

123.      In August 20 19, Jane's family submitted a medical exemption from her treating physician,

       Dr. Laura Bennett ("Dr. Bennett") who is licensed to practice medicine in the State ofNew

       York.

124.      The Three Village Central School District denied Jane's medical exemption on the advice

    of the school district's consulting doctor, Dr. Howard Sussman (''Dr. Sussman").

125.      Dr. Sussman contacted Dr. Bennet to discuss the impending denial of the medical

    exemption as written. Dr. Bennett subsequently advised the family that Dr. Sussman stated

    that he "wouldn't give this child the vaccine either", but the medical exemption wasn't written

    sufficiently under the new law and recommended she write a new one with "more specific"

    language. He did not indicate what the "more specific language" should include.

126.      Jane's doctor complied with Dr. Sussman's recommendation. On September 17, 2019,

    Jane's family submitted a second more detailed medical exemption fonn signed by Dr.

    Bennett. Dr. Bennett's medical exemption was supplemented by a letter detailing that the

    reasons for exemption were in line with CDC criteria. She also included a letter from Dr.

    Nancy O'Hara, a licensed physician and specialist Jane sees in Connecticut ("Dr. O'Hara").

    Both physicians noted that Jane was undergoing active treatment and agreed that further

    immunization could put Jane at risk of serious harm.

127.      The school sent the second exemption packet directly to the New York State Department

   of Health for review.

128.      In November 2019, defendant Dr. Rausch-Phung, a non-practicing physician who works

   for the New York State Department of Health, recommended the school deny the exemption.



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129.    Without examining Jane, speaking with her two treating physicians, or requesting any

    supplemental records, Dr. Rausch-Phung wrote that it was in Jane's ~'best interest" to be

    immunized with meningococcal vaccine despite the medical concerns and history. She wrote

    that the death of Jane's sibling, even ifit was from an adverse reaction to the vaccine, was not

    a sufficient reason to grant an exemption.

130.    In December 2019, Jane's family submitted a third medical exemption from a third

    treating physician, Dr. Caroline Hartridge ("Dr. Hartridge"), also a physician licensed to

    practice medicine in New York. Dr. Hartridge's exemption letter stated that Jane suffered

    from acute illness, pointing out that acute illness is a listed precaution under the ACIP

    guidelines concerning meningococcal vaccine and recommending that Jane avoid

    immunization until her illness was no longer acute.

131.   The school district sent the third letter for review at the New York State Department of

    Health.

132.   On March 2, 2020, Dr. Rausch Phung sent a letter allowing a "one month" exemption

    upon which she asked that the family submit an additional medical exemption form which she

    would review. The school could not specify whether the month ran from the date of

    submission of the third exemption letter (December 20 19) or the date they received a response

    from Dr. Rausch Phung (March 2020).

133.   The family had to hire an attorney to attempt to negotiate with the school for clarity. The

   Three Village Central School District refused to consider allowing their principal or

   superintendent to approve the follow up requests and was unable to provide clarity on whether

   the exemption in place had to be renewed immediately or in April, and how long it might take

   to get an answer on the follow up request.



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134.    Having already lost one child after giving him the meningococcal vaccine against medical

    advice, the family was unwilling to risk Jane's health by going against their three treating

    doctors' advice.

135.    Jane was being deeply impacted by the uncertainty about her immunization exemption

    request and has been unable to attend school since January 2020. Jane's parents both work

    full time. They have been forced to homeschool Jane and have had to spend enormous

    amounts of money on online programs to try to provide their daughter with an education.

    Jane's friendships and sense of self-worth have plummeted. Her grieving process intensified,

    and she has suffered deep depression, anger, and sadness from her exclusion from school.

136.    After years working so hard to regain her health, and after the trauma that she and her

    family have been through, this experience has caused irreparable harm to Jane and her family.

                                    Jane Coe and John Coe

137.    John Coe ("John"), age twelve, and Jane Coe ("Jane"), age ten, live with their parents,

    Jane Coe, Sr. and John Coe, Sr. in the Lansing School District in New York.

138.    John Coe, Sr.'s brother died from an adverse reaction to his two-month vaccines. The

    cause of death was documented on the death certificate as having been from immunization

    and, after a hearing, his estate received compensation from the National Vaccine Injury

    Compensation Program.

139.    Several other family members have suffered severe reactions to vaccines as well.

140.    Before his brother died, John Coe, Sr. had a severe reaction to his childhood

    immunizations. After John Coe, Sr.'s brother died, John Coe, Sr.'s sister was born and despite

    a delayed immunization schedule, also had a negative reaction to her first childhood




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       immunization. John Coe, Sr.'s mother, a registered nurse, also had a severe reaction to the flu

       vaccine. John Coe, Sr.'s cousin also died after administration of her childhood vaccines.

 141 .    John Coe, Sr., and his surviving sibling had medical exemptions from immunization

     throughout the rest of their childhoods.

 142.     Upon the advice of medical professionals and considering the family history, John and

    Jane have never been vaccinated and have had exemptions since they were born.

143.      Both children have multiple food, environmental and drug allergies, and precarious health.

144.      The family sees a genetic counselor who has identified several genetic mutations and

    markers that could explain the significant family pattern of adverse reactions and the

    children's predisposition towards health issues.

145.      In addition to a family history of vaccine injury and death, there is a family history of

    numerous autoimmune and other conditions consistent with the genetic profile of the children.

146.      In August 2019, the parents submitted applications for medical exemptions explaining the

    family history and the children's medical history signed by a Dr. Christopher Scianna, who is

    licensed to practice in New York.

147.      Dr. Scianna concluded that it was unsafe for either child to be vaccinated due to their

    current states of vulnerable health and their genetic analysis and family history of significant

    adverse vaccine reactions, including two deaths.

148.      The exemption application also attached a letter from the genetic counselor.

149.      The Lansing School District received the exemption letter and the children began school

    as usual in fall 2019.

150.     On January 21,2020, without warning, Jane Coe, Sr. received correspondence from Chris

    Pettograsso, Superintendent of the Lansing School District, stating that "the building



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       principals" (Christine Rebera and Lorri Whiteman) had rejected the medical exemptions for

       both children. The family was given one week to get eleven different vaccines for each child

       to return to school.

151.      The Superintendent noted that the school had received a recommendation from the

    NYSDOH and by unspecified members of a "medical team" locally but asserted that the

    building principals each ultimately made the decision to reject the medical exemptions

    "'independently."

152.      Attached to the letter from the school was a letter dated December 5, 2019 written by

    Defendant Elizabeth Rausch-Phung, M.D., M.P.H., the Director of the Bureau of

    Immunizations at the New York State Department of Health.

153.      Dr. Rausch-Phung stated that the adverse reactions of family members (including death)

    are not contraindications for immunization under ACIP and concluded that "there is not

    sufficient infonnation included regarding the genetic testing perfonned to conclude that

    vaccines required for school attendance wouJd be contraindicated in a child with variations in

    the reported SNPs. The specific source of the genetic tests, the results of these tests, and

    review and recommendations of this child's genetic findings by a medical genetics specialist

    would be needed to determine if these results preclude this student from being vaccinated."

154.      Before rejecting the medical exemption, neither the school district nor Dr. Rausch-Phung

    contacted the family or Dr. Scianna seeking any further infonnation or requesting to consult

   with the treating physician or geneticist.

155.      On January 27, 2020, the family submitted a letter from an attorney and the genetic

   counselor explaining that the only pediatric genetic specialist in the region had a waiting list

    for new patients of more than one year.



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 156.      The attorney requested that the school district meet to discuss the denial or grant the family

        a few months extension to try to expedite an appointment and satisfy Dr. Rausch-Phung's

        requirement that they provide a corroborating opinion written by a genetic specialist. She also

    expressed concern with the legality of the process, stating,

              "I have serious concerns about the legality of this denial and process. Nothing in the
              law suggests that the family must retain the services of a specialist to be considered
              for an exemption. To the extent that the DOH isn't sure about a medical precaution,
              they should defer to the treating physician and the family. Moreover, there are
              constitutional issues here involving the fundamental rights of the family to refuse
              medical treatment especially where the treating physician and providers concur that it
              could be dangerous to the children's health. And particularly in a case like this, where
              the family has already had to suffer the death of more than one child due to vaccine
              reactions. To require such additional process is in my opinion unlawful and clear
              overreach."
157.       On January 29, 2020, counsel for the Lansing School District emailed the Coe family

    attorney denying the requests for a meeting or an extension, and stating:

               "fmally, you cite your 'serious concerns' about the legality of the denial
               process"' ... [relating to the NYSDOH recommendations] .. . However, this statement
               from a recommendation from the Department of Health was neither relied upon nor
               cited by the district in its decision to deny the medical exemption request." No
               indication was given about an alternative reason for the denial other than that the
               building principals had allegedly "made the decisions independently."

158.       Though the medical exemption was permanently denied in January 2020, and there is no

    appeal pending, on May 4, 2020, the NYSDOH wrote Dr. Scianna seeking all of the

    children's medical records and noting that they were entitled to the full medical records of the

    children whether or not the family consented.

I 59.      The intimidating letter from the NYSDOH vaguely references investigations and appears

    to have been sent to deter the physician from writing any further medical exemptions.

160.       The children have been excluded from school since January 29, 2020. The burden on the

    family and children of trying to homeschool while the parents work has been very difficult

    and has caused the family significant economic and emotional damage.


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                                                Jolin Foe

161.    John Foe ("Jobn,), age 11, was born with Hirschsprung's Disease, a rare genetic disease

    which prevents connections between the brain and gastrointestinal system from forming.

162.    As an infant, John had to undergo major gastrointestinal surgery during which surgeons

    removed a section of his intestine and then reattached the system back together. He must use

    a prosthetic colon system that needs to be inserted every night to keep him socially continent.

163.    The surgery profoundly affected John's immune system. More than 70% of the immune

    system is in the gastrointestinal system.

164.    John suffers from a long list of severe allergies. He is so sensitive to chemicals and metals

    that he cannot wear sunscreen or even drink tap water. When John drinks water that is not

    filtered correctly, he has cramping, diarrhea, and bleeding rash around his rectum. He has

    experienced the same type of reaction to dairy, fruit, and most antibiotics, among other

    triggers. When antibiotics are necessary, John requires hospitalization to manage his adverse

    symptoms of vomiting, diarrhea and dehydration and requires concurrent administration of

    metronidazole to minimize reaction symptoms.

165.   Another of John's known triggers is immunization. John had a severe reaction to

    immunization at age 3.

166.   John has not received any immunizations since the age of three on the advice of his

    pediatrician, Dr. Kari Bovenzi, M.D. ("Dr. Bovenzi"). Due to his serious reaction to

    immunization, and taking into consideration John's medical history and his family medical

   history (John's mother suffered paralysis after receiving the DTaP shot), John's doctor

   determined that he was at substantial risk of having even more severe reactions to subsequent

   immunization and recommended that he should not recei ve any more.



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167.      On or about August 23, 2019, John's family submitted a properly certified medical

       exemption from Dr. Bovenzi, a physician licensed to practice medicine in New York, detailing

       why Jolm should be exempt from further immunization requirements. Jolm's parents spoke to

       the school nurses and were told that all their paperwork was in order.

168.      On September 23, 2019, John's mother received a call from the Albany City School

    District Transportation Department letting her know that since Jolm's medical exemption was

    denied, he would not be able to take the bus the next day. The family called the school, spoke

    to the principal, Michael Paolino, several school nurses and ultimately Assistant

    Superintendent Lori McKenna.

169.      Ms. McKeiUla informed the family that John was no longer allowed to attend school and

    that the medical exemption was being denied on the advice of the district physician, Dr. Laura

    Staff.

170.      John's family would not immunize their son against medical advice. The school district

    expelled Jolm the same day. Jolm has been unable to attend public school since September

    23,2019.

171.      John is a very social child and loved school. He was beloved by his classmates. He was

    an honors student, an avid participant in marching band, chorus, chess club and running club,

    and affectionately referred to as the "mayor" of his school.

172.      Jolm also has special needs and qualified for and received critical services under a 504

   plan at school.

173.      Following his expulsion from school, the district refused to provide John with these

   services at home.




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 174.      Expulsion from school had a significant adverse impact on John. John developed serious

       depression and was angry, confused and humiliated by his exclusion.

 175.     John's family hired an attorney and got extensive genetic testing for John. John carries the

       MTHFR gene mutation from his maternal side and has several other genetic vulnerabilities

       that reveal why immunization is particularly dangerous for him. John's pediatrician prepared

       a forty-page medical exemption, providing extensive detail about why John was at risk of

       harm from further immunization. The exemption was submitted shortly before Thanksgiving,

    2019.

176.      On January 3, 2020, the family received a letter from the school indicating that they'd sent

    the exemption letter "to the CDC" for review and had determined that it did not meet the

    criteria laid out in the ACIP guidelines and was therefore again denied. No detail was provided

    about who reviewed the letter specifically or what their specific recommendations were based

    on.

177.      Despite their deep roots in the area, and that their careers were centered in New York,

    John's family began making plans to leave the state.

178.      Before upending their lives and finding new careers, the family applied to private school

    in the same district. The first private school they sent the exemption accepted it right away.

    However, the tuition was too high for the family to handle. The second private school took a

    month to review the application and accepted it and John has been attending this private

    school since March 2020.

179.      Though the family is relieved to have a school option for John, it is significantly impacting

   their lives and John's educational opportunities to be denied the right to a free public




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       education. At private school, John is not receiving the services that he would be able to receive

       in public school, and his family can ill afford to keep sending him there.

 180.     John wants to return to his public school, where he was so at home and beloved.

                                                Jane Goe

 181.     Jane Goe ("Jane") is a seventeen-year old young woman who suffers from multiple

       severe autoimmune conditions. Her diagnoses including Type I Diabetes, Celiac Disease,

    Hashimoto's Thyroiditis, Alopecia Areata and Polycystic Ovarian Syndrome.

 182.     Jane lives with her parents, Jane Goe, Sr., and John Goe, in the Penfield Central School

    District.

183.      Jane's Type I Diabetes was triggered by the HINt vaccine in third grade. In rapid

    succession, she continued to devolve after that event and developed four additional

    autoimmune diagnoses, losing half of her hair, suffering chronic additional health issues, and

    missing significant time in school when she was too sick to attend.

184.      Jane has a family history of serious autoimmune disease. Her genetic testing shows

    significant vulnerabilities including the rare HLA genotype, which places her at a high risk of

    developing Guillain-Barre syndrome (an acknowledged potential adverse reaction to the

    meningococcal vaccine). Jane is very sensitive to chemicals. She has had serious adverse

    reactions to chlorine and many other environmental exposures.

185.      Since sixth grade, Jane and her family have worked extensively with Jane's treating

    physician, Dr. Pamela Grover ("Dr. Grover"), who is licensed to practice medicine in New

    York and who has been so engaged for more than twenty years and is well-regarded for her

    expertise in autoimmune conditions.




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 186.      Dr. Grover worked diligently with the family to help Jane regain and maintain a

       reasonable level of health. Jane avoids environmental triggers, must follow a restricted diet,

       and is undergoing multiple therapies. She has not received additional vaccines since her

       adverse reaction in third grade.

 187.     On or about August 18, 20 19, Dr. Grover submitted a duly certified medical exemption

       from immunization, noting that Jane was suffering from a flare up of her acute autoimmune

    conditions and could not safely be immunized for at least one year or until her autoimmune

    conditions were under control.

188.      Jane has had all her immunizations except for the meningococcal vaccine and a fifth dose

    of the tetanus, pertussis and diphtheria containing vaccine.

189.      No component of any of these four vaccines protects anyone but the recipient.

190.      On September 11, 2019, Mark Sansouci, the Assistant Superintendent of the Penfield

    Central School District, emailed Jane Goe, Sr. advising that the medical exemption for Jane

    was being denied on the advice of the School District's consulting doctor, Dr. Robert J. Tuite

    ("Dr. Tuite"). Dr. Tuite is a pediatrician, who does not have expertise in any of the

    autoimmune conditions from which Jane suffers.

191.      Dr. Tuite's email, which was forwarded in the same thread, stated that the request was

    denied and that Jane would have had to have suffered Gullian-Barre Syndrome (which causes

    paralysis) within six weeks of getting a vaccine and that "it is up to the parents and/or

    physician to contact pediatric infectious disease/immunology or the DOH department of

   immunizations to get the specialist' s input" for the exemption to be considered. Dr. Tuite

    noted that if Jane did not submit a letter from a specialist within fourteen days, she would be

   excluded from school.



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 192.     With great difficulty, Jane's mother was able to get an appointment with Dr. Craig

       Orlowski ("Dr. Orlowski"), who has been practicing medicine for nearly forty years, serves

    as an Associate Professor of Clinical Pediatrics at the University of Rochester Medical School,

    1s     Chief of Pediatric Endocrinology the University of Rochester Golisano Children's

    Hospital, is a specialist and physician duly licensed in the state ofNew York and has published

    widely on many of the autoimmune conditions that Jane suffers from. Dr. Orlowski agreed

    that it would be unsafe for Jane to receive immunizations at that time and wrote a letter

    supporting an exemption through April of 2020.

193.      Dr. Orlowski's exemption was submitted on or about September 18, 2019. Later that

    same day, Jane's mother received an email from Thomas Putnam, the Superintendent of the

    Penfield Central School District, forwarding another denial from Dr. Tuite, which stated:

                  "Dr. Putnam, I have a lot of admiration for Dr. Orlowski as a
                 pediatric endocrinologist but quite frankly feel that he is out of his
                 scope ofpractice/expertise within this area of immunization issues.
                 Believe me that I am so busy right now with these immunization
                 concerns that it would be really easy to just accept this medical
                 exemption and move on. I still feel strongly that this request does
                 not meet the CDC contraindication or even a precaution from
                 getting these specific vaccines. I would highly recommend a referral
                 to either a pediatric infectious disease/immunology specialist such
                 as Dr. Geoffrey Weinberg at Golisano Children's Hospital or an
                 immunologist such as Dr. Syed Mustafa ... who both have a wealth of
                 experience and expertise in this area of immunization
                 appropriateness. I have in the past and would now honor and trust
                 their opinion and abide by their advice in these kind ofcomplicated
                 situations. "

194.      Dr. Tuite is a pediatrician specializing in sports medicine. He has no specialized training

   or certifications in vaccines or in any of the conditions that Jane suffers from and has nowhere

   near the level of expertise in these matters that Dr. Orlowski does.




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 195.     The next day, Jane was removed from school as the fourteen days from the original notice

       of denial had run. It was homecoming that day. The exclusion was public. Many people at

       school were aware of the reason and mentioned that they knew that she was excluded because

       her medical exemption had been denied. Jane was humiliated and felt that her privacy had

       been seriously violated.

 196.     Jane's mother showed Dr. Tuite's email to Dr. Orlowski, who was so outraged that he

       walked across the hall and presented it to his colleague Dr. Geoffrey Weinberg ("Dr.

       Weinberg"), one of the two doctors that Dr. Tuite suggested were the only specialists that he

    would consider fit to submit a medical exemption application.

197.      On or about September 20, 2020, Dr. Weinberg submitted a letter to Dr. Tuite affum.ing

    the validity of his colleague Dr. Orlowski's medical exemption request and recommending

    that Dr. Tuite accept the medical exemption for Jane at least through the fall given that she

    was having a flare of symptoms and was at risk of exacerbating her condition.

198.      Jane was allowed to attend her senior year of high school through the fall, but Dr. Tuite

    indicated that she would need to be immunized by January 28, 2020 or she would be removed

    from school.

199.      The family had to hire an attorney. The fall semester was bittersweet for Jane, who

    suffered enormous stress at the idea that she would be removed from school in the spring

    semester. Jane had been chosen to play a significant part in the spring play and was terrified

    that she would not be able to graduate with her classmates or have to suffer another

    humiliating removal from school and all the gossip and judgment that followed the first one.

200.      In January 2020, Jane's family submitted a follow up medical exemption request, written

    by Dr. Grover, which documented how the request fit into the ACIP guidelines.



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201.    The request was sent on to the Department of Health for further review.

202.    Since this submission, Jane has not heard back, either with an acceptance or denial. The

    stress on the family of wondering if Jane would be removed from school at any moment has

    been enonnous. Jane is set to graduate on July 30, 2020. Her speech has been chosen as the

    commencement speech. Though this graduation is only a day away, Jane is terrified that just

    by joining this lawsuit she might be subjected to retaliation and denied the right to graduate

    with her class.

203.   The financial and emotional burdens placed on Jane and her family this year have

    irreparably impacted her emotional and physical health and her family' s wellbeing.

                                             Joltn Joe

204.   John Joe ("John") is a six-year-old boy who had a severe, life-threatening anaphylactic

    reaction to his hepatitis B vaccine given at birth. He lives with his mother, Jane Joe, who is a

    single mother without financial resources or support residing with her son in the Ithaca City

    School District.

205.   John has special needs. He has severe autism, obsessive compulsive disorder, and a range

   of neurological and other health problems. Medical tests show mercury poisoning, lead

   poisoning and aluminum poisoning and an inability to process heavy metals. Jane has worked

   extensively with medical professionals and with rigorous dietary and environmental

   protocols, which have greatly improved her son's quality of life and health over the years.

   Nonetheless, his health is fragile, and setbacks are common.

206.   On the advice of his treating physicians, Jolm has had a medical exemption to all

   immunization since the anaphylactic reaction at birth.




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207.     In 2018, John and Jane moved to the Ithaca City School District. John's treating

     pediatrician in Ithaca, Dr. Jessica Casey, a physician licensed to practice medicine in New

     York, reviewed John's case and wrote a medical exemption for John, indicating her

     recommendation that he be exempt from all immunizations on a permanent basis.

208.     Jane submitted Dr. Casey's medical exemption to the Ithaca City School District in the

     fall of 2018, and John completed that school year without issue.

209.     In the summer 2019, Jane obtained a renewed medical exemption from Dr. Casey and

     submitted it again without issue. John attended his summer programming for children with

     special needs and began his first-grade year in elementary school in the fall.

210.     In November, 2019, without warning, the Superintendent of the Ithaca City School

     District, Dr. Luvelle Brown, signed a letter to Jane letting her know that her medical

     exemption request was partially denied, and she had to get her son immunized within a week

     or her son would be expelled from school.

211 .    Jane met with Dr. Brown to beg him to reconsider, explaining that her son had always had

     a medical exemption to all further immunization and that multiple physicians had indicated

     that further immunization would be unsafe for him.

212.     Dr. Brown, who is not a medical professional or scientist, stated that it was out of his

     hands, and that as far as he understood, John would need to have an anaphylactic reaction to

     each vaccine in order to be exempt from the additional mandates.

213.     John was removed from school in November of 2019. His mother has had to quit her job,

     go on public assistance, and now attempts to attend to all her son's needs on her own.

2 l 4.   Before he was removed from school, John had an Individualized Educational Plan, which

     entitled him to extensive needed services, such as speech therapy five days a week,



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       occupational therapy three times a week, music therapy and play therapy. The Ithaca City

       School District has refused to provide any of these services at home as they do for other

       special needs children who are homeschooling.

                                 Jane Koe, Jolm Koe and Janie Koe

215.      Jane Koe (age 14), John Koe (age 11) and Janie Koe (age 5) live with their parents, Jane

       Koe, Sr. and John Koe, Sr. in the Shenendehowa Central School District in New York. Jane

       Koe and John Koe both suffer from serious autoimmune and other chronic health issues

    believed to have been triggered by their childhood immunizations.

216.      Jane received her normal schedule of vaccines until she suffered a severe reaction to her

one-year immunizations just before her first birthday. Pain and hardness at the injection site led

to uncontrollable high fever which would not subside for over a week. Within days, Jane lost her

ability to walk. She spent her first birthday in the hospital and ended up having to undergo

extensive medical treatment including surgery.

21 7.     At age three, Jane developed migraines so severe that she was repeatedly in and out of the

emergency room throughout childhood and has missed substantial school, spending a number of

years on homebound instruction due to her illness. Jane suffers from crippling arthritis, serious

heart issues, numbness that leads to an inability to breathe and frequent autoimmune conditions.

Jane's bloodwork reveals markers indicating Sjograns Syndrome and/or Lupus, both

inflammatory autoimmune conditions which immunizations can trigger and make worse.

218.      John received his hepatitis B shot the day he was born. He immediately developed eczema

and serious ongoing gastrointestinal issues along with neurological tics. Like his sister, John has

had to spend substantial time out of school and in the ER due to his health issues and had to be

educated through home instruction due to illness.



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219.    In or around 2014, John's gastrointestinal issues became so bad that he had uncontrollable

explosive diarrhea for over a year. For several years, the family was in and out of the emergency

room for one child or the other every few weeks.

220.    In 2018, John was diagnosed with two forms of juvenile autoimmune arthritis and his

family was informed that he will likely end up in a wheelchair. Juvenile autoimmune arthritis is

a recognized adverse reaction to immunization.

221.     John's cousin has the same condition. He was treated with chemotherapy drugs and ended

up having liver failure as a child.

222.    The family history reveals significant vulnerability for autoimmune disease and cancers

as well as adverse vaccine reactions.

223.    Janey Koe, the only one of the three children who has never been vaccinated, has no health

issues.10. Jane Koe, Sr. has been able to mitigate some of the symptoms of her older children's

autoimmune conditions through rigorous diet modifications (the children have to stay on a gluten

free and vegan diet) and the avoidance of known triggers, including immunization.

224.    The children are under the care of a nurse practitioner, Melanie Clark, R.N./N.P. who is

familiar with the children's treatment and has documented an improvement in the children's

health as a result of the diet and lifestyle adjustments the family has made.

225.    N.P. Clark agrees that immunization could harm the children and, before the start of

school in 2019, wrote a letter seeking medical exemption for each of the three children.

226.    The Superintendent of the Shenendehowa Central School District rejected the exemptions,

stating that they had to be signed by a medical doctor. The doctors in the practice refused to sign

the fonns and refused to even evaluate the children despite the treating nurse practitioner's




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 assessment. As a result, the School District advised Jane Doe that her children had to withdraw

 from school.

227.    The District asked Jane Doe, Sr. to sign forms indicating that she was voluntarily

removing her children from school.

228.    Jane Doe, Sr. objected, responding that her children were being involuntarily expelled and

explaining that she was providing her children with horne school education under duress and

unwilling to sign forms stating this was voluntary.

229.    The Shenendehowa Central School District retaliated by filing a child abuse and neglect

complaint against Jane Doe, Sr. with Child Protective Services ("CPS") hotline, causing the

family to endure an invasive CPS investigation. No formal report was issued, but as a result, the

family now feels vulnerable and "in the system."

                                            John Loe

230.    John Loe ("John") is a fifteen-year-old boy diagnosed at around age 7 by pediatric

    neurologist Rosario Trifiletti, M.D., Ph.D. ("Dr. Trifeletti") with two forms of autoimmune

    encephalitis: Pediatric Acute-Onset Neuropsychiatric Syndrome ("P.A.N.S.") and later

    (August 2013) with a dual diagnosis of Hashimoto's Encephalopathy.

231 .   John lives with his parents, Jane Loe and John Loe, Sr., and attends a Catholic college

    preparatory school in the neighboring South Huntington School District.

232.    Since his first day of life and for the next several years, John was vaccinated in strict

    accordance with pediatric directives, apparently pursuant to New York State mandates based

    on ACIP guidelines, plus all of the influenza ('·flu") and H l N I flu vaccines strongly

   recommended. Through the years, John suffered unexplained "phases" of odd behavioral and




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       health issues. Later review of the medical file revealed that these phases closely tracked his

       immunizations.

233.      At age 5, on or about October 9, 2009, John was vaccinated with the DTaP and flu shots,

       and then received two H 1N 1 vaccines over the course of the next weeks. Following the 2009

    vaccines, John appeared to decompensate more sharply than prior "phases" his parents had

    noticed in previous years.

234.      At age 6, on October 27, 2010, John received a flu vaccine, and the above referenced

    symptoms heightened further still, to a more severe degree than his parents had ever seen.

    Teachers noticed that something was wrong, but John's health seemed to improve over the

    course of the year.

235.      At age 7, on October 18, 2011, John had another flu vaccine at his pediatrician's behest.

    Over these next days, weeks and months John's health drastically deteriorated. He began to

    experience debilitating tics and compulsions, which would occur simultaneously, appearing

    intertwined and a terrible waterfall of symptoms and behaviors. He repeatedly clapped his

    hands so hard next to his ear that he was later diagnosed with self-inflicted hearing damage,

    had terrifying panic attacks in public, banged his head and suffered extreme general anxiety,

   extreme separation anxiety, and extreme school anxiety. He developed obsessive-compulsive

   disorder, and suffered loss of penmanship, math, reading and writing skills and toileting skills.

236.      Things worsened still when he became nearly anorexic, refusing more and more foods

    until he was down to a sip of water and a bite of saltine cracker a day. He began having quasi-

   hallucinations, experiencing intense fear to a debilitating degree. He grew increasingly sad,

   which apparently evolved into grave depression, as he said, "I want to kill my life."




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23 7.      At this point, his bewildered parents grew from wondering what was happening to their

       child to being terrified beyond words. In 20 12, the parents got an appointment with Dr.

       Trifiletti, who is a well-respected pediatric neurologist.

238.       Dr. Trifiletti diagnosed John with P.A.N.S./P.A.N.DA.S. a form of autoimmune

       encephalopathy, which was confirmed upon his analysis of comprehensive bloodwork

       reports. The parents complied with the recommended immune modulating treatments of Dr.

       Trifiletti. Within 24 to 48 hours, John began eating again, his hallucinations stopped, and

       slowly over time, many other symptoms improved.

239.      Dr. Trifiletti was able to stabilize John's neurological and autoimmune condition slowly

       with the medications, ongoing monitoring and testing, and avoidance of known triggers, such

    as exposure allergens, toxins, and vaccines.

240.      Under Dr. Trifiletti management of John's condition he fared relatively well, compared to

    many with his diagnoses. Though John never made it back to "baseline" symptoms-wise, and

    though he still suffers setbacks, he has remained highly functional.

241.      In August 2012, when Dr. Trifiletti began treating John, he was not due for any further

    school-mandated vaccinations, already being fully "up to date."

242.      When John reached 61h grade (fall 2015), the school nurse advised that the Tdap was

    required to remain in school. Dr. Trifiletti, advised that a medical exemption was medically

    indicated for John as to "all vaccines". The exemption was accepted without issue. John's

    family submitted subsequent medical exemptions from Dr. Trifiletti for 71h, 81h, and 9th grade,

    also without issue.

243.      In August 2019 Dr. Trifiletti signed an updated medical exemption, which the parents

   submitted to John's school in mid-September 2019.



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244.    Shortly thereafter, the school nurse contacted the parents to advise that their school's

    "chief doctor," Dr. Jack Geffken ("Dr. Geffken") rejected Dr. Trifiletti' s exemption after

    speaking with him on the phone.

245.    After this phone call, Dr. Tri:filetti, who had been treating John since he was seven years

    old, told John' s parents that he could no longer treat Jolm. He behaved oddly and as if he was

    frightened. Months after dropping John as a patient, Dr. Trifiletti followed up with a stiff letter

    that made no sense, given that John was no longer a patient, indicating the benefits of vaccines

    and contradicting years of documented medical advice about the risks that they pose to John

    specifically.

246.    John was removed from school on September 20, 20 19 and has not been able to return

    since.

24 7.   For the remainder of fall 20 19, the family's life revolved around the uphill battle of trying

    to get John back into school and to find a new specialist. There are few specialists with

    expertise sufficient to treat John's conditions and the waiting lists are long for all of them.

    John's health and academics declined dramatically.

248.    In November 2019, the Loes obtained an appointment with specialist, Dr. Denis

    Bouboulis, an immunologist licensed to practice in New York, who is experienced and

    revered in the PANS/Autoimmune Encephalitis community.

249.    Dr. Bouboulis concurred that it would be unsafe for John to rece1ve the Tdap or

    meningococcal vaccines. Accordingly, on or about November 14, 2019, he provided two

    written medical exemptions (the school adamantly insisted there had to be a separate form for

   each vaccine in question, which misstates the requirement of setting forth the bases as to each

    vaccine).



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250.    Months of bureaucratic delay ensued.

251.    First, the school advised that the district doctor, Dr. Geffken, declined the Medical

    Exemptions because it was on the "wrong form."         Dr. Bouboulis's office had utilized the

    current New York City DOH forms, believing that to be the most currently required New

    York form, and the parents were unable to suggest otherwise, as they were neither present

    while it was completed, nor aware of more than one form version (NYC vs. State). The NYC

    form is more comprehensive than the New York State form and includes all the same

    information as the state form.

252.   John' s parents pleaded for more time to have the doctor redo the forms on the New York

    State form, which was begrudgingly granted. They then undertook ongoing and diligent

    efforts to arrange for the doctor to transfer the information to the New York State forms, but

    had difficulty getting a response. They eventually were told by staff that during that time, Dr.

    Bouboulis had received a call from the NYSDOH, directing that he could not write any further

   New York medical exemptions "unless he was the doctor who administered the vaccinations,"

   and that therefore, he would not be signing any more. Nothing in the law or regulations

   supports this limitation on physicians.

253.   At their next medical appointment with Dr. Bouboulis, in early December 2019, Dr.

   Bouboulis reiterated what the staffhad said. The Loe's showed Dr. Bouboulis legal analysis

    from counsel and the text of the statute contradicting the NYSDOH erroneous information.

   To the extent that Dr. Bouboulis was merely transferring information from the NYC forms to

   the New York State forms as requested by the school, and not issuing anything anew (post-

   handling), he agreed to prepare the new forms. These comprised what was now the third

   medical exemption submission to the school since the school year began.



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 254.      On January 7, 2020, the parents received an email from the principal stating that due to

       information contained in an attached letter recommending a denial of the exemption from Dr.

       Geffken, John would be unable to continue as a student there. The principal had advised all

       of John's teachers and departments, including the Registrar, of the reason, and that he would

       keep the family in his prayers.

255.      John has all his immunizations except for a final booster dose of the Tdap vaccine (tetanus,

       diphtheria, and pertussis) and the meningococcal vaccine (meningitis).

256.      No component of any of these four vaccines protects anyone but the recipient.

257.      The impact of John's school expulsion upon his family and him has been severe.

258.      John's medical condition has made his life unbearable at times. A hallmark of his

    condition is severe social anxiety. John was just at a point of recovering enough health to

    begin to develop confidence. He was doing well in school. He was getting recognition for his

    music and was excited to be in several school bands. He was finally overcoming some of his

    social anxiety and making friends.

259.      John's confidence and the progress he' s made have also been shattered. He has become

    very depressed and is not able to keep up with his home studies.

260.      John's college prospects and the course of his life have been substantially altered for the

    worse. His parents work full time and home instruction has not been successful. Additionally,

    John was forced to miss the P.S.A.T. preparation and test that IO'h graders take at school.

261.      John feels hopelessly lost and his depression and anxiety have become debilitating. His

   mother has been in touch with a few psychologists who can provide counseling about his

   situation, feelings, and homeschooling encouragement, but John refuses to engage and has

   shut down to an alanning degree.



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       MEDICALLY FRAGILE CHILDREN ACROSS THE STATE ARE BEING
       SUBJECTED TO SIMILAR BURDENS AND TREATMENT

262.      The stories of the named plaintiffs illustrate a wider pattern and practice that arbitrarily

       excludes most medically fragile children from obtaining medical exemptions in New York.

263.      They provide typical detail about how the new regulations narrowing New York's medical

    exemption from mandatory school immunization, and the policies, procedures and practices

    adopted by the defendants in implementing them are too restrictive. Instead of helping

    medically fragile children, these practices are subjecting medically fragile children and their

    families to extensive harm, including the threat of unsafe medical interventions, enormous

    stress, and severe financial burdens.

264.      The ACIP contraindications and precautions are not comprehensive and were never meant

    to be an exhaustive list of reasons for a physician to determine that one or more of the vaccines

    are dangerous for a child.

265.      Dr. Andrew Kroger from CDC's Immunization Services Division emphasized this point

    in reply to an email from Plaintiff Jane Doe asking for clarification on the ACIP guidelines

    and their role in defining medical exemptions. He stated: "The ACIP guidelines were never

    meant to be a population-based concept ... The CDC does not determine medical exemptions.

    We define contraindications. It is the medical providers prerogative to determine whether this

   list of conditions can be broader to define medical exemptions." Email from Dr. Kroger to

   Jane Doe sent December 28,2019.

26~.      The ACIP contraindications only allow "contraindicate" immunization for four narrow

   circumstances:

             a. The child suffered near fatal anaphylactic shock or a coma within a short period

                 after receiving a vaccine (which only qualifies the child for an exemption from the


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                triggering vaccine(s) and requires that a child continue to submit to the other

                vaccines until or unless he has suffered near fatal anaphylactic shock to each one

                shortly after it's administration);

            b. The child has a narrow category of severe immunodeficiency (certain pediatric

                cancers but only during active chemotherapy, HIV, organ transplant) (which only

                qualifies the child for exemption from certain live vaccines);

            c. The child developed encephalopathy within seven days after immunization with

                diphtheria, tetanus and pertussis containing vaccines (which only qualifies the

                child for further exemption from those specific vaccines); and

            d. The child developed intussusception after rotavirus vaccine (which only qualifies

                the child for an exemption from further rotavirus vaccine).

267.   The ACIP precautions expand the category of children who should be exempt. However,

    the precautions are vague, complex and are subject to interpretation which often results in

    inconsistent results.

268.   Moreover, many consulting physicians including Dr. Rausch~Phung from the NYSDOH

    appear to be judging medical exemption requests solely on whether they comport with ACIP

    contraindications, ignoring conditions that fall under precautions entirely.

269.   Even if the precautions were honored, the ACIP guidelines are too narrow. Hundreds of

   additional adverse reactions have been recognized even by the vaccine manufacturers

   themselves, and hundreds of additional well~established medical reasons may cause a child to

   be at risk of hann from one or more of the childhood immunizations.

         ACIP Doesll 't Cover Most Harms Recognized;, Vaccine Package Inserts




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 270.      The ACIP contraindications do not even cover most of the harms recognized and

        published in the vaccine package inserts by the vaccine manufacturers.

 271.      After licensure, the law requires vaccine manufacturers to include in the package insert

        for their product "only those adverse events for which there is some basis to believe there is

        a causal relationship between the drug and occurrence of the adverse event." 21 C.F.R.

    201.57(c)(7).

 272.      The following list, meticulously compiled by Plaintiff Children's Health Defense,

    highlights the "contraindicated" ACIP list among all listed vaccine adverse reactions and

    conditions in marketed vaccines:



              Vaccine Package Inserts: Post-Marketing Experience
                   Blood and lymphatic system disorders
    •      Anemia, aplasic or hemolytic (Pneumovax-23, ProQuad, Varivax)
    •      Autoimmune hemolytic anemia (GardasilfGardasil 9)
    •      Epistaxis [nosebleed] (ProQuad)
    •      Extravasation blood (ProQuad)
    •      Hematochezia [bloody stools] (ProQuad, Rotarix, RotaTeq)
    •      Increased erythrocyte sedimentation rate (Recombivax)
    •      Leukocytosis (MMR-II, Pneumovax-23)
    •      Lymphadenitis (Boostrix, Pneumovax-23, ProQuad)
    •      Lymphadenopathy, including regional [enlarged lymph nodes] (Boostrix, Daptacel, DT, Fluad, Fluarix,
           Flulaval, FluzoneQ and FluzoneHD, Gardasii/Gardasil 9, Infanrix, IPV, Kinrix, MMR-11, PedvaxHIB,
           Pneumovax-23. Prevnar- 13, ProQuad, Tenivac)
    •      Thrombocytopenia, including severe [low platelets] (Afluria, Engerix-B, Fluad, FluzoneQ and
           FluzoneHD, Havrix, lnfanrix, Kinrix, MMR-11, Pneumovax-23, ProQuad, Recombivax, Twinrix, Vaqta,
           Varivax)
    •      Thrombocytopenic purpura, idiopathic (ITP) (Gardasii/Gardasil9, Rotarix, Twinrix, Varivax)

                   Cardiac disorders

    •     Cyanosis [bluish discoloration] (Daptacel, Hiberix, lnfanrix, Pediarix, Pentacel, Prevnar-13 , Quadracel)
    •     Myocarditis [inflammation ofheart muscle) (Adacel, Boostrix)
    •     Palpitations (Engerix-B, Twinrix)
    •     Pericarditis [inflammation ofpericardium] (FiuMist)
    •     Tachycardia [abnormally high heart rate] (Engerix-B, Fluarix, Recombivax, Twinrix)


                   Congenital



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             •      Congenital anomaly (Havrix)


                            Death

             •     Death (Gardasii/Gardasil 9, MMR-11, Rotarix, RotaTeq)
             •     SIDS (lnfanrix)


                            Ear and labyrinth disorders

            •      Ear pain (Engerix-8, lnfanrix, ProQuad, Twinrix)
            •      Nerve deafness (MMR-11, ProQuad)
            •      Otitis media (MMR-11)
            •      Tinnitis (Engerix-8, Recombivax, Twinrix)
            •      Vertigo (Engerix-8, Fluarix)


                           Eye disorders

         •        Conjunctivitis (Engerix-8, Fluarix, MMR-11, Recombivax, Twinrix)
         •        Eye irritation (Fluarix, ProQuad)
        •         Eye pain (Fiuarix, Flulaval)
        •         Eye redness (Fiuarix)
        •         Eye swelling (Bexero, Fluarix)
        •         Eyelid swelling (Fiuarix, ProQuad)
        •         Keratitis [cornea inflammation] (Engerix-B)
        •         Ocular hyperemia [eye inflammation] (FiuzoneQ and FluzoneHD)
        •         Ocular palsies (MMR-11, ProQuad)
        •         Optic neuritis/neuropathy, papillitis (Engerix-B, FluzoneQ and FluzoneHD, MMR-11, ProQuad,
                  Recombivax, Twinrix)
        •         Photophobia (Fiulaval)
        •         Retinitis, necrotizing retinitis (MMR-If, ProQuad, Varivax)
        •         Retrobulbar neuritis (MMR-Il, ProQuad)
        •         Uveitis [eye inflammation] (Recombivax)
        •         Visual disturbances (Engerix-B, Recombivax, Twinrix)


                          Gastrointestinal disorders

    •            Abdominal pain or discomfort (Fiuarix, ProQuad)
    •            Candidiasis (ProQuad)
    •            Constipation (Recombivax)
    •            Diarrhea (Daptacel, FluMist, FluzoneHD, MMR-11, Pediarix, Pentacel)
    •            Dyspepsia (Engerix-B, Twinrix)
    •            Dysphagia [swallowing difficulties] (Fiulaval)
    •            Gastroenteritis (Rotarix, RotaTeq)
    •            Intussusception and recurrent intussusception (including fatal) (Rotarix, RotaTeq) ((ACIP would allow
                 exemption from further immunization with rotavirus vaccine only)
    •            Mouth ulcers (ProQuad)
    •            Nausea (Daptacel, DT, Fluarix, FluMist, FluzoneHD, GardasiliGardasil 9, MMR-11, Pneumovax-23,
                 TDVAX)
    •            Pancreatitis (Gardasii/Gardasil 9, MMR-11)

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        •    Swelling of the mouth, throat, and/or tongue (Fluarix)
        •    Vomiting (Flulaval, FluMist, FluzoneQ and FluzoneHD, Gardasil/Gardasil 9, MMR-11, Pediarix, Pentacel,
             Pneumovax-23, Tenivac)


                     General disorders and administration site conditions

       •    Abnormal gait (Fiulaval)
       •    Apathy (ProQuad)
       •    Asthenia [fatigue, weakness] (Fiuarix, Flulaval, FluzoneQ and FluzoneHD, Gardasii/Gardasil 9, lnfanrix,
            Pediarix, Tenivac)
    •       Body aches (Fluarix)
    •       Chest pain (Fiuarix, Flulaval, FluzoneQ and FluzoneHD)
    •       Chills (F\uarix, FluzoneHD, Gardasii/Gardasil 9)
    •       Decreased limb mobility (Pneumovax-23)
    •       Feeling hot (Fluarix)
    •       Fever (MMR-11, Pneumovax-23)
    •       Injected limb-extensive swelling (ActH1B, Bexero, Hiberix)
    •       Injection site abscess (Adacel, Daptacel, Fluarix, Flulaval, PedvaxHIB, Pentacel, Quadracel)
    •       Injection site bruising (Adacel, Flulaval)
    •       Injection site cellulitis (Afluria, Daptacel, Fluad, Fluarix, Flulaval, Pediarix, Quadracel, Tenivac)
    •       Injection site reactions: mass, pain, warmth (Adacel, Afluria, Bexero, Boostrix, Daptacel, DT, Engerix-
            B, Fluad, Fluarix, Flucelvax, Flulaval, Havrix, Hiberix, 1nfanrix, 1PV, Kinrix, MMR-Il, Pediarix, Pentacel,
            Pneumovax-23, Prevnar-13, ProQuad, Quadracel, TDV AX, Tenivac, Twinrix)
    •       Injection site rash (Daptacel, Flulaval, IPV, Prevnar-13)
    •       Listlessness (Quadrace1)
    •       Malaise (Gardasii/Gardasil 9, MMR-11, Pneumovax-23, TDVAX, Twinrix)
    •       Peripheral edema (ActHIB, MMR-II, Pneumovax-23, ProQuad, TDVAX, Tenivac, Varivax)
    •       Pyrexia (TDV AX)
    •       Swelling (MMR-ll, ProQuad)
                     Hepatobiliary and liver disorders

    •       Elevation of liver enzymes (Recombivax)
    •       Hepatitis (Havrix, Twinrix)
    •       Jaundice (Havrix, Twinrix)


                     Immune system disorders

    •       Allergic reactions/hypersensitivity (ActHIB, Adacel, Afluria, Bexero, Boostrix, Daptacel, Engerix-B,
            Fluarix, Flublok, FluMist, FluzoneQ and FluzoneHD, Hiberix, lnfanrix, IPV, Kinrix, Pediarix, Pentacel,
            Quadracel, Recombivax, Tenivac, Trumenba, Twinrix)
    •       Anaphylactic and anaphylactoid reactions, including shock (ActHIB, Adacel, Afluria, Bexero, Boostrix,
            Daptacel, Engerix-B, Fluad, Fluarix, Flublok, Flucelvax, Flulaval, FluMist, FluzoneQ and FluzoneHD,
            Havrix, Hiberix, lnfanrix, IPV, Kinrix, MMR-11, Pediarix, Pentacel, Pneumovax-23, Prevnar-13, ProQuad,
            Quadracel, Recombivax, RotaTeq, Tenivac, Trumenba, Twinrix, Varivax)(AC/P would only allow
            e:cemption from the triggering immuni:ation only)
   •        Angioedema, angioneurotic edema [swelling beneath skin] (ActHIB, A dace!, Boostrix, Daptacel, Engerix-
            B, Fluad, F1uarix, Flucelvax, Flulaval, FluMist, FluzoneQ and FluzoneHD, Havrix, Hiberix, lnfanrix,
            Kinrix, MMR-II, Pediarix, PedvaxHIB, Pneumovax-23, Prevnar-13 , ProQuad, RotaTeq, Tenivac, Twinrix,
            Varivax)
   •        Edema (Adacel)
   •        Hypotension (Adacel)
   •        Serum sickness (Afluria, Engerix-8, Fluarix, Havrix, Pneumovax-23, Recombivax, Twinrix)

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                      Infections and infestations

         •    Atypical measles (MMR-11, ProQuad)
         •    Bronchitis (lnfanrix, ProQuad)
         •    Cellulitis (Daptacel, Infanrix, Pneumovax-23, ProQuad, TDVAX, Varivax)
        •     Chills (Havrix, Twinrix)
        •     Early-onset Hib disease (PedvaxHIB)
        •     Herpes simplex (ProQuad)
        •     Herpes zoster (Engerix-8, ProQuad, Recombivax, Twinrix, Varivax)
        •     Infection (ProQuad)
        •    Influenza, influenza-like illness (Afluria, Flulaval, Havrix, ProQuad)
        •    Invasive Hib disease (Pentacel)
        •    Kawasaki disease (Rotarix, RotaTeq)
        •    Laryngitis (Fiulaval)
        •    Measles (ProQuad)
        •    Measles-like rash (MMR-11)
        •    Meningitis, aseptic meningitis, eosinophilic meningitis (Engerix-8, FluMist, MMR-11, Pentacel,
             ProQuad, Twinrix, Varivax)
       •     Pharyngitis (Fiuarix, FluzoneHD, Varivax)
       •     Pneumonia, pneumonitis (MMR-If, ProQuad, Varivax)
       •     Pulmonary congestion (ProQuad)
       •     Respiratory tract infection (lnfanrix, Pediarix, ProQuad)
       •     Rhinitis {Fiuarix, Flulaval, FluzoneHD, Havrix, MMR-11, Pentacel, ProQuad)
       •     Secondary bacterial infections of skin and soft tissue (Varivax)
       •     Sinusitis (ProQuad)
       •     Skin inrection (ProQuad)
       •     Sore throat (MMR-11, ProQuad)
       •     Tonsillitis (Fiuarix)
       •     Transmission of vaccine virus strains to non-vaccinated (RotaTeq)
       •     Varicella (vaccine strain) (ProQuad, Varivax)
       •     Varicella-like rash (ProQuad)
       •     Viral infection (Pentacel)


                     Investigations

    •        Abnormal liver function tests (Engerix-8, Twinrix)
    •        Increased serum C-reactive protein (Pneumovax-23)


                     Metabolic disorders

    •        Decreased appetite (Pentacel)
    •        Diabetes mellitus (MMR-11)
    •        Mitochondrial encephalomyopathy/Leigh syndrome exacerbation [neurometabolic disorder] (FluMist)


                    Musculosl.:eletal and connective tissue disorders

    •        Arthralgia {8oostrix, Engerix-8, FluzoneHD, IPV, MMR-11, Pneumovax-23, ProQuad, Recombivax,
             TDVAX, Twinrix)
   •         Arthritis (Engerix-8, Flulaval, MMR-11, Pneumovax-23, ProQuad, Recombivax, Twinrix)
   •         Back pain (Boostrix)

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    •   Hypotonia (Prevnar-13)
    •   Lupus-like syndrome (Recombivax)
    •   Muscle spasm (Adacel)
    •   Muscle weakness (Engerix-B, Fluad, Flulaval, Recombivax, Twinrix)
    •   Musculoskeletal pain (ProQuad)
    •   Musculoskeletal stiffness (Havrix)
    •   Myalgia (Boostrix, IPV, MMR-11, ProQuad, TDV AX, Tenivac)
    •   Myositis (Adacel)
    •   Pain in extremities (Fiuarix, FluzoneQ and FluzoneHD, Pediarix, Recombivax, TDVAX, Tenivac)
    •   Systemic lupus erythematosus (SLE) (Recombivax)


                 Nervous system disorders

    •   Acute disseminated encephalomyelitis (ADEM) (MMR-11, ProQuad)
    •   Ataxia (MMR-11, ProQuad, Varivax)
    •   Bulging fontanelle (Pediarix)
    •   Cerebellar ataxia (Vaqta)
    •   Convulsions/seizures (ActHIB, Adacel, Afluria, Boostrix, Daptacel, DT, Fluad, Fluarix, Flulaval,
        FluzoneQ and FluzoneHD, Havrix, Hiberix, IPV, Kinrix, MMR-11, Quadracel, Recombivax, TDVAX,
        Twinrix, Varivax)
    •   Depressed level of consciousness (Boostrix, Pediarix, Pentacel)
    •   Dizziness (Fiuarix, Flu laval, FluzoneQ and FluzoneHD, Havrix, MMR-11, ProQuad, TDV AX, Tenivac,
        Varivax)
    •   Encephalitis, vaccine-induced encephalitis [brain inflammation] (Boostrix, Engerix-B, FluMist, MMR-
        11, Pediarix, Recombivax, Twinrix, Vaqta, Varivax) (ACIP will only allow exemption from further
        vaccination with the triggering vaccine)
    •   Encephalomyelitis [inflammation of brain and spinal cord] (Afluria, Fluad, Fluarix, FluzoneQ and
        FluzoneHD)
    •   Encephalopathy (brain disease] (Atluria, Engerix-B, Flulaval, Havrix, lnfanrix, MMR-11, ProQuad,
        Twinrix)
    •   Facial palsy, Bell's palsy (Adacel, Boostrix, Engerix-B, Fluarix, FluMist, FluzoneQ and FluzoneHD,
        ProQuad, Recombivax, Twinrix, Varivax)
    •   Facial (or cranial) nerve paralysis (Flulaval)
    •   Facial paresis [impaired movement] (Fiuarix)
    •   Febrile convulsions/seizures (Afluria, Daptacel, FluzoneQ and FluzoneHD, IPV, MMR-II, PedvaxHIB,
        Pneumovax-23, ProQuad, Quadracel, Recombivax)
    •   Guillain-Barre syndrome (Adacel, Atluria, Engerix-B, Fluad, Fluarix, Flulaval, FluMist, FluzoneQ and
        FluzoneHD, Havrix, MMR-11, PedvaxHIB, Pneumovax-23, ProQuad, Recombivax, Tenivac, Vaqta,
        Varivax)
    •   Headache (DT, Infanrix, IPV, MMR-11, ProQuad, TDVAX, Twinrix)
    •   Hypocsthesia (decreased tactile sensitivity] (Adacel, Engerix-B, Fluarix, Flulaval, Havrix, Recombivax,
        Twinrix)
    •   Hypokinesia [loss ofmuscle movement] (Flu laval)
    •   Hypotonia [low muscle tone] (Daptacel, Hiberix, Infanrix, Pediarix, Quadracel)
    •   Hypotonic-hyporesponsive episode to immunization (HHE) (Daptacel, Hiberix, Kinrix, Pediarix,
        Pentacel, Quadracel)
    •   Lethargy (Pediarix)
    •   Limb paralysis (Flulaval)
    •   Measles inclusion body encephalitis (MIBE) (MMR-11, ProQuad)
    •   Migraine (Engerix-B, Recombivax)
    •   Multiple sclerosis (or MS exacerbation) (Engerix-B, Havtix, Recombivax, Twinrix)
    •   Myelitis [spinal cord disease] (Adacel, Fluarix, FluzoneQ and FluzoneHD, Havrix, Recombivax, Twinrix)
    •   Neuralgia [nerve pain) (Afluria, Fluad)



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       •    Neuritis, including brachial, polyneuritis [nerve inflammation] (Adacel, Atluria, Engerix-8, Fluad,
           Fluarix, FluzoneQ and FluzoneHD, MMR-11, Twinrix)
       •   Neuropathy, polyneuropathy [nerve damage] (Atluria, Engerix-B, Fluarix, Havrix, MMR-Il, ProQuad,
           Recombivax, Twinrix)
    •      Paralysis (Engerix-B, Twinrix)
    •      Paresis (Engerix-8, Twinrix)
    •      Paresthesia [abnormal skin sensations] (Adacel, Atluria. Boostrix, Engerix-B, Fluad, Fluarix, Flucelvax,
           Flulaval, FluzoneQ and FluzoneHD, Havrix, IPV, MMR-11, Pneumovax-23, ProQuad, Tenivac, Varivax)
    •      Partial seizures, seizures (Daptacel, Engerix-8, ProQuad)
    •      Presyncope [feelingfaint] (Fiuad, Flucelvax)
    •      Radiculopathy ["pinched nerve" in spine] (Pneumovax-23, Recombivax)
    •      Somnolence (Daptacel, DT, Flulaval, Havrix, Hiberix, IPV, Pediarix, Pentacel, Quadracel, Recombivax)
    •      Subacute sclerosing panencephalitis (SSPE) (MMR-11, ProQuad)
    •      Syncope, vasovagal syncope [fainting] (Adacel, 8exero, Boostrix, Daptacel, DT, Engerix-B, Fluad,
           Fluarix, Flucelvax, Flulaval, FluzoneQ and FluzoneHD, Havrix, Hiberix, Infanrix, Kinrix, MMR-Il,
           Pediarix, ProQuad, Recombivax, Tenivac, Trumenba)
    •      Transverse myelitis [spinal cord demyelination] (Atluria, Engerix-B, FluzoneQ and FluzoneHD, MMR-
           11, ProQuad, Recombivax, Twinrix, Varivax)
    •      Tremors (Flulaval, ProQuad)


                    Psychiatric disorders

    •      Agitation (IPV, ProQuad, Recombivax)
    •      Crying/unusual crying (Pediarix)
    •      Hypersomnia (ProQuad)
    •      Insomnia (Flulaval, Pediarix)
    •      Irritability (MMR-11, Recombivax)
    •      Nervousness (Pediarix, ProQuad)
    •      Restlessness (Pediarix)
    •      Screaming (Daptacel, Pediarix, Pentacel, Quadracel)


                    Respiratory, thoracic, and mediastinal disorders

    •      Apnea (Engerix-B, Hiberix, lnfanrix, Kinrix, Pediarix, Pentacel, Prevnar-13)
    •      Asthma, asthma-like symptoms (Engerix· B, Fluarix, Twinrix)
    •      Bronchospasm (Engerix-8, Fluarix, Flulaval, MMR-11, ProQuad, Recombivax, Tenivac, Twinrix)
    •      Cough (Fiuarix, FluzoneQ and FluzoneHD, lnfanrix, MMR-11, Pediarix, Pentacel)
    •      Dyspnea [shortness of breath] (Fluarix, Flu laval, FluzoneQ and FluzoneHD, Havrix, Pediarix, Quadracel,
           Twinrix)
   •       Dysphonia [vocal abnormalities] (Fiulaval)
   •       Epistaxis [nosebleed] (FiuMist)
   •       Oropharyngeal pain (FiuzoneQ)
   •       Respiratory distress (Fiuarix)
   •       Rhinorrhea [runny nose) (FiuzoneQ)
   •       Stridor [high-pitched whee=ingJ (Fiuarix)
   •       Throat tightness (Fiulaval, FluzoneQ and FluzoneHD)
   •       Wheezing (FiuzoneQ and FluzoneHD, ProQuad)


                   Skin and subcutaneous tissue disorders

   •       Acute hemorrhagic edema of in fancy (MMR-11, ProQuad)

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       •   Alopecia [hair loss] (Engerix-8, Recombivax, Twinrix)
       •    Ecchymoses [subcutaneous bleeding] (Engerix-8, Recombivax, Twinrix)
       •    Eczema (Engerix-8, Recombivax, Twinrix)
       •   Erythema [skin redness] (Fluarix, Infanrix, MMR-11, Pediarix, Pentacel, TDVAX)
       •   Erythema multiforme (Engerix-B, Fluad, Fluarix, Havrix, MMR-II, Pneumovax-23, ProQuad, Prevnar-
            13, Recombivax, Twinrix, Varivax)
       •   Erythema nodosum (Engerix-8, Recombivax, Twinrix)
       •   Exanthem [widespread rash] (Boostrix)
       •   Facial swelling/edema (Daptacel, Fluarix, MMR-11, ProQuad, Varivax)
       •   Hyperhydrosis [abnormal sweating] (Fiulaval, Havrix, Twinrix)
       •   Impetigo (ProQuad, Varivax)
       •   Lichen planus [inflammatory skin rash] (Engerix-8, Twinrix)
       •   Panniculitis [disease offatty layer ofskin] (MMR-11, ProQuad)
       •   Parotitis [inflammation ofsalivary glandr] (MMR-11, ProQuad)
       •   Pruritus [itchy skin] (ActHIB, Adacel, Afluria, Boostrix, Daptace1, Fluad, Fluarix, F1ucelvax, Flulaval,
           FluzoneQ and FluzoneHD, lnfanrix, Kinrix, MMR-11, Prevnar-13, ProQuad, TDV AX, Tenivac)
       •   Purpura [red/purple spots] (Engerix-8, MMR-11, ProQuad)
       •   Rash (ActHIB, Adacel, Afluria, Bexero, Boostrix, Daptacel, DT, Fluad, Fluarix, Flucelvax, Flulaval,
           FluMist, FluzoneQ, Hiberix, lnfanrix, IPV, MMR-II, Pediarix, Pentacel, Pneumovax-23 , Prevnar- 13,
           Quadracel, TDVAX, Tenivac)
    •      Skin discoloration (Pentacel)
    •      Skin induration (MMR-11, ProQuad)
    •      Stevens-Johnson syndrome [severe skin reaction] (Engerix-B, Fluarix, FluzoneQ and FluzoneHD, MMR-
           11, ProQuad, Recombivax, Varivax)
    •      Urticaria [hives] (ActHIB, Adacel, Afluria, Boostrix, DT, Engerix-8, Fluad, Fluarix, Flucelvax, Flulaval,
           FluMist, FluzoneQ and FluzoneHD, Hiberix, Infanrix, IPV, Kinrix, MMR-n, Pediarix, Pentacel,
           Pneumovax-23, Prevnar-13, Quadracel, Recombivax, RotaTeq, Tenivac, Twinrix)
    •      Vesiculation (MMR-11)


                   Vascular disorders

    •      Cerebrovascular accident (ProQuad, Varivax)
    •      Flushing (Flulaval, FluzoneQ and FluzoneHD)
    •      Henoch-ScMnlein purpura [blood vessel inflammation] (Boostrix, Fluarix, MMR-H, ProQuad, Varivax)
    •      Pallor (DT, Flulaval, Hiberix, Pediarix, Pentacel, Prevnar-13, Quadracel)
    •      Petechiae [bleeding capillaries] (Pediarix, Recombivax)
    •      Polyarteritis nodosa [inflamed/damaged arteries] (Recombivax)
    •      Renal vasculitis (Afluria, Fluad)
    •      Vasculitis [blood vessel inflammation] (Atluria, Engerix-8, Fluad, Fluarix, FluzoneQ and F\uzoneHD,
           Havrix, MMR-11, Recombivax, Twinrix)


                   Urogenital disorders

    •      Epididymitis [testicular inflammation] (MMR-11, ProQuad)
    •      Orchitis [inflammation ofthe testes] (MMR-11, ProQuad)


273.       In New York, under the current interpretation of the DOH regulation, if a child suffers

   any of the hundreds of serious adverse reactions above that are not highlighted, which are all

   conditions that the vaccine manufacturers include as reported vaccine adverse conditions, they

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       must continue to submit to immunization even if they suffer harm and even if they have a

    sibling or family member who died from that same adverse reaction to immunization.


                 ACIP Does11 't Cover Most Harms Recognized by tlte VICP

274.      Similarly, the ACIP contraindications do not cover most of the harms proven and

    compensated by the United States Government as vaccine injuries.

275.      Congress enacted the National Childhood Vaccine Injury Act of 1986 (the "1986 Act") to

    grant pharmaceutical companies broad immunity, including complete financial immunity,

    from liability for injuries caused by vaccines.

276.      The 1986 Act bars vaccine injured plaintiffs from suing in civil court and instead requires

    them to pursue redress through the National Vaccine Injury Compensation Program (VICP).


277.      VICP requires plaintiffs to file a Petition with the United States Court of Federal Court of

    Claims within three years of the injury (regardless of whether the family knew or should have

    known the injury was caused by an immunization). The case is then litigated in a special

    proceeding with the US Department of Justice acting as opposing counsel on behalf of U.S.

    Health and Human Services (HHS).

278.     Vaccine manufacturers make the only consumer products in the U.S. with this kind of

    immunity from liability. Even the partial immunities enjoyed by gun manufacturers pale in

    comparison.

279.     The United States Supreme Court explained that Congress granted immunity to vaccine

    manufacturers because litigation costs from injuries and harm were becoming so high that the

    production of vaccines was no longer profitable. For example, for the DTP vaccine, "by the

    mid-1980's . .. the remaining manufacturer estimated that its potential tort liability exceeded

    its annual sales by a factor of200." Bruesewitz v. Wyeth LLC, 562 U.S. 223,227 (2011).

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280.    Though the original intent of the VICP was to make the process easier for plaintiffs,

    subsequent changes have arguably made VICP proceedings more difficult and drawn out than

    civil proceedings. Plaintiffs in a VICP proceeding do not have discovery as of right and face

    many procedural barriers that do not exist in normal civil proceedings.

281.    Despite the additional barriers and the fact that the maximum pay-out for death in any

    case is $250,000, thousands of cases in the VICP have received awards, and HHS has paid

    out more than $4.2 billion dollars to compensate victims since the inception of the program.

282.    The following is a partial list of conditions that the VICP has compensated, where we

    highlight the two conditions also on the ACIP list of contraindications:


               Abscess,     acute disseminated encephalomyelitis (ADEM),            acute liver failure,     adhesive

               capsulitis,aggravation of pre-existing encephalopathy, agoraphobia, anllpltylactic slwck,

               anapltylaxis,antisynthetase syndrome, angiomatoidjibrous histiocytoma, anxiety, aplastic anemia,

               arm injury,arthritis, ataxia, autism, autoimmune hep type 2, autoimmune hemolytic anemia,

               behavioral issues, bell's palsy, benign tumor, bilateral peripheral neuropathy, bilateral shoulder

               pain, bilateral symmetric diaphragmatic palsy, blindness, brachial neuritis, brachial plexopathy,

               brachial plexus newitis, cardiac injury, celiac disease, cellulitis, cerebellitis, cerebellar ataxia,

               cerebrovascular accident, chest pain, choreiform movement disorder, chronic fatigue, chronic

               gastrointestinal issues, chronic arthritis, chronic inflammatory demyelinating polyneuropthay

               (CIDP). chronic urticarial, demyelinating disease of central nervous system, demyelinating

               polyradicu/oneuropathy, chronic pain, complex regional pain syndrome, death, deltoid bursitis,

               demyelinating condition, demyelinating sensorimotor polyneuropathy, dermatomyositis, dravet

               syndrome, developmental delay, devic 's disease, eczema, encephalititis, encephalopathy, epilepsy.

               epstein barr virus, erythema mu/tiforme major. evan's syndrome, exacerbation of existing

               cardiomyopathy,     expressive   language    delay,   fatigue,     jibromyalgia,   fro:en    shoulder,

               gastrointestinal symptoms, gastroparesis, GM/ gangliosidosis, gui/lain-barre syndrome (GBS).

               headaches,      hemophagocytic       lymphohistiocytosis         (HLH),     hodgkin's       lymphoma,


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               phypereosinophi/ia,      hypersensitivity,   hypotensive-hyporesponsive shock collapse (HHE},

                hypoproteinemia, hypotonia, immobile flaccid legs, immune issues, immune thrombocytopenia

               purpa, increased risk of cancer, infantile spasms, inflammatory arthritis, joint pain, juvenile

               dermatomyositis, juvenile idiopathic arthritis, juvenile rheumatoid arthritis (JRA). Kawasaki

               disease, keloid scarring, /eukocytoc/astic vasculitis (LCV), leukodystrophy, latent herpes simplex

               virus infection, lichen planus, lipomas. long thoracic nerve palsy, lupus (SLE), lymphangitis,

               lymphomatoid granulomatosis, macrophagic myofasciitis, meningoencephalitis, metal toxicity,

               mixed connective tissue disease (MCTD). monoplegia, multi organ failure, multiple sclerosis,

               muscle spasms,myalgias, myelitis, necrotizing pancreatitis, nerve damage, neurological injury,

               neuromyelitis   optica     (NMO),     neuropathic   arm   pain,   neuropathy,   nodular fasciitis,

               opsoclonusmyoclonus syndrome (OMS), ocular visual disturbance, optic neuritis, panic, overlap

               syndrome, panuveitis. panniculitis, parsonage turner syndrome, pemphigus vulgaris, peripheral

               neuropathy, permanent spastic tetraparesis, polyarthralgia, progressive encephalopathy, psoriatic

               arthritis, pulmonary edema, SIDS, radial nerve damage, rash. reactive inflammatory arthritis,

               reflex sympathetic dystrophy, residual seizure disorder (RSD), retro seizures, rhabdomyolysis,

               rheumatoid arthritis, rheumatologic injuries. scaring, sen I a, seizures, seizure disorder, sensory

               neuropathy, sensory polyneuropathy, serum sickness, sirva, small fiber neuropathy, shoulder pain,

               splenic rupture, abscesses. strep infection, stroke, suprascapular neuropathy, syncope, synovitis,

               tendonitis, tendinopathy, toxic epidermal necrolysis (TEN), toxic shock syndrome, transverse

               myelitis (fM). thrombocytopenic purpa, tics, tremors, undifferentiated connective tissue disease

               (UCTD), urinary incontinence, uticarial andgiodema, uveitis, vasculitis, vestibular neuronitis

283.   Again, if a child suffered from any but two of the I 00+ injuries listed above, the child

   would not qualify for a medical exemption under the challenged New York State medical

   exemption regulations. Instead, their parents would be forced to either give their child doses

   of the vaccines that could cause injury or death or forego the right to an education for their

   child. This is true even if the parents went to court to prove that the child's existing injury was




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       due to a vaccine. This is true even if the child has a sibling who had similar reactions and

       died.

          ACIP Doesn't Cover Most Harms Recognized by Tire Institutes of Medicbre

284.      Similarly, the ACIP guidelines do not cover many of the harms recognized by the

       Institutes of Medicine in its comprehensive, congressionally directed reports and review of

    the scientific literature.

285.      As part ofthe National Childhood Vaccine Injury Act of 1986, Congress directed HHS to

    contract with the Institute of Medicine (IOM) to evaluate and report on the adverse effects of

    federally recommended childhood vaccines.

286.      Beginning in 1990, IOM appointed expert conunittees to review the evidence in the

    medical literature and from other sources on the safety of government-recommended and

    mandated childhood vaccines.

287.      IOM published a series of reports between 1991 and 2013 evaluating all available

    scientific evidence related to certain reported vaccine injuries.

288.      In these reports, the 10M concluded that the evidence supports a causal relationship

    between immunization and the following conditions:

               a.  Death
               b.  Thrombocytopenia
               c.  Chronic arthritis
               d   Acute arthritis
               e.  Shock and unusual shock-like state
               f Protracted inconsolable crying
               g. Acute encephalopathy (brain inflammation)
                h. Chronic Nervous System Dysfunction (brain damage)
                i. Anaphylaxis (whole-body allergic reaction)
               j. Febrile Seizures (convulsions with fever)
                k. Guillain-Barre Syndrome (peripheral nerve inflammation)
               I. Brachial Neuritis (arm nerve inflammation)
               m. Deltoid Bursitis (shoulder inflammation)
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           n. Acute & Chronic Arthritis (joint inflammation)
           o. Syncope (sudden loss of consciousness/fainting)
           p . Hypotonic/Hyporesponsive Episodes (shock and " unusual shock-like state)
           q. Protracted, Inconsolable Crying and Screaming
           r. Vaccine Strain Infection (smallpox, live polio, measles, varicella zoster vaccines)
           s. Hepatitis
           t. Pneumonia
           u. Meningitis

               See, e.g., https://www.nap.edu/read/ 1815/chapter/2#7;

https://www.nap.edu/read/213 8/chapter/2# 12; https://www.nap.edu/read/ 13164/chapter/2#3;

https://www.nap.edu/read/13563/chapter/9# 130

289.   If a child or the child's family member suffers one of the serious injuries causally related

    to vaccination, such as death, the ACIP guidelines do not allow that child to be exempt from

    subsequent doses.

290.Moreover, the 10M reports also stressed that there are hundreds of additional serious adverse

    reactions that cannot be ruled out even if the literature is not yet developed enough to prove

    that there is a causal link. In each of the reports from the 1990's through 2013, the !OM

    concluded repeatedly that continuing significant gaps in scientific knowledge about the

   biological mechanisms of vaccine injury and death exist, necessitating additional research.

291.   Since there are not enough methodologically sound epidemiological and biological-

   mechanism studies evaluating vaccine adverse events, the IOM committee acknowledged that

   it could not come to definitive conclusions - either supporting a causal relationship or refuting

   one - on causation for many of the reported vaccine reactions involving chronic brain and

   immune system dysfunction and death.

292.   Specifically, the 10M found that for the then ten routinely used vaccines (MMR DTaP,

   hepatitis B, hepatitis A, varicella zoster and meningococcal), there were too few scientifically



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       sound studies published in the medical literature to determine whether more than 100 serious

       brain and inunune system problems are, or are not, caused by the vaccines, including multiple

       sclerosis, arthritis, lupus, stroke, SIDS, autism attention deficit syndrome, disruptive behavior

       disorder, tics and Tourette's syndrome, intellectual disability, allergy, atopy, autoimmunity,

       learning disorders, developmental disorders, and asthma.

293.      The 10M reports discussed above have also consistently acknowledged evidence showing

    that there is individual susceptibility to serious vaccine injuries that will not show up in

    broader population studies.

294.      The 10M concluded: "Finally, the committee found that evidence from assessments of

    health outcomes in potentially susceptible subpopulations of children who may have an

    increased risk of adverse reactions to vaccines (such as children with a family history of

    autoinunune disease or allergies or children born prematurely) was limited .. .Most children

    who experience an adverse reaction to immunization have a preexisting susceptibility. Some

    predispositions may be detectible prior to vaccination; others, at least with current technology

    and practice, are not (IOM, 2012, p.82).

295.      If a physician determines that a child's history of pre-existing conditions, family history

    or genetic evaluation puts her at risk of harm from one or more immunizations, a narrow

    adherence to ACIP guidance would not respect that conclusion, even though the 10M and

    countless peer-reviewed studies acknowledge that there may be an increased and

    individualized risk for that child of harm.

296.      The New York regulations governing the medica] exemption do contain a provision

   allowing a medical exemption if the determination about the risk of harm is based on ACIP

   or "any other evidence-based nationally recognized standard of care."


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297.       However, in practice, the defendants and their agents and assigns have failed to

       acknowledge or consider this category.

298.       As science continues to develop, treating medical providers must receive deference when

       making recommendations; only they, rather than a school principal or outside consultant, have

       a full picture of the child's family, medical history, and potential risk factors.

    THE EMERGENCY REGULATIONS ALLOW NON-MEDICALLY TRAINED
    SCHOOL PRINCIPALS TO OVERRULE TREATING PHYSICIANS

299.      In addition to narrowing the definition that treating physicians may use to determine what

    "might be detrimental to a child's health", the new regulations allow school principals to

    substitute their own judgment about whether the risk is sufficient to allow for exemption and

    overrule treating physicians.

300.      School principals are not generally medically trained or licensed to practice medicine.

301.      Though it is not required that a principal base the decision to ovenule a physician on any

    professional consultation, the NYSDOH does allow and encourage schools to seek a medical

    consultation from a third party - either a school district contracted physician or the NYSDOH

    itself.

302.      However, before reaching a conclusion, the third-party reviewer is not required to examine

    the child or review the entire medical chart.

303.      The third-party reviewer has no duty of care to the child, no obligation to consider the child's

    medical record or history, to contemplate the child's unique characteristics and genetic

    composition, or even to consider the opinion of the child's treating physician.

304.      The third-party reviewer is not liable if the child is subsequently harmed as a direct result of

    her uninformed and incomplete medical opinion.




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305.       Allowing principals to overrule treating physicians based on the advice or opinion of non-

       treating physicians or other administrators is particularly problematic in that school principals

       are not medically trained.

306.       Use of third-party reviewers deprives parents of the right to choose their own physician and

    severely limits their right to informed consent, as the third-party reviewer is not in communication

       with the parents or able to discuss the various health considerations at stake or the options.

307.      Sometimes, the families are not even told whom the school consulted with or given any

    information about the basis for why that consultant decided to overrule their doctor.

308.       In addition, there is an inherent conflict of interest as the third-party reviewers are employees

    of the entity that has a vested interest in ensuring a certain percentage of students attending

    school are fully vaccinated. They thus have a stake in reducing or eliminating the number of

    partially vaccinated or unvaccinated students.

309.      Therefore, the third-party reviewer has an irreconcilable conflict of interest in providing a

    disinterested and fair recommendation regarding the risk to the individual child.

310.      Sometimes, these conflicts are worse. Defendant Dr. Elizabeth Rauch-Phung, M.D., M.P.H.

    reviews many of the medical exemptions sent to the NYSDOH by local principals.

311.      Since 2010, Dr. Rausch-Phung has served as the full time Director of the Bureau of

    Immunizations for the NYSDOH where she is the administrative physician.

312.      Upon information and belief, Dr. Rausch-Phung has not seen or treated a patient for at least

    nine years.

313.      Dr. Rausch-Phung typically issues advisory opinions to principals without reviewing the full

    medical records of the children, without meeting or speaking to the child, the family or the treating

    physician, and without any specialty in the various conditions that the medically fragile children

    have.


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 314.      Dr. Rausch-Phung also has financial conflicts of interest.

 315.      Specifically, while holding her position, she participated in a promotional video paid for by

       Sanofi Pasteur, Inc. (..Sanofi") to assist in increasing vaccine uptake and sales.

316.       Sanofi is a phannaceutical company with over $5 billion in annual vaccine revenue, which

       sells a large portion of vaccines used in the United States, including the vaccines that Dr. Rausch-

       Phung is pushing on medically fragile children against their treating physician's advice.

317.       Dr. Rausch-Phung also serves as New York Program Manager for the Association of

       Immunization Managers ("AIM"), which received "critical support" from Merck, Sanofi and

       Pfizer, companies that together sell a majority of the vaccines mandated for children in the

       United States.

318.      AIM, which is funded primarily by these vaccine manufacturers, specifically exists to

    increase vaccine uptake and sales.

319.      Recognizing the clear conflict, federal employees involved in immunization activities are

    barred from active membership in this organization.

320.      However, in New York, Dr. Rausch-Phung is not only an active member but program

    manager for the organization statewide.

321.      Whether or not Dr. Rausch-Phung's activities outside of the NYSDOH constitute a legal

   conflict of interest, it is the parents' right to decide if they would prefer to choose a physician

    who has no such potential ethical conflict. It is also the parents' right to decide whether Dr.

    Rausch-Phung is in the best position to evaluate the risks and benefits of various

   pharmaceutical products for their specific child given her lack of recent experience treating

   patients.

322.      It is also the parents' right to decide if they are comfortable with an evaluation done on a

   partial record without clinical examination or even review of the full medical record.

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 323.      Parents should be free to choose their child's physician based on whom they believe is the

       most qualified and the best fit for their child.

 324.      The medical exemption exists precisely so that treating physicians, chosen by parents, can

       exercise clinical medical judgment, prevent harm, and protect medically vulnerable children

       when in their medical opinion, further vaccination may put the child at risk.

325.      The medical exemption must remain under the full discretion of each treating physician

       to ensure that doctors can fulfill their duty to protect patients' health using evidence-based

       medicine while considering each individual patient's medical history.

       THE EMERGENCY REGULATIONS ARE OVERBURDENSOME AND REQUIRE
       UNLAWFUL PRIVATE PATIENT INFORMATION AND DETAIL

326.      The Emergency Regulations also subject parents to overburdensome documentation

    requirements which unlawfully prevent many from exercising their right to a medical

    exemption and violate the children and family privacy rights.

327.      Prior to 2019, it was enough for a physician to write a brief note indicating that a medically

    fragile child should be exempt from one or more of the immunizations due to the risk of harm

    and for indicating for how long. This was simple and within the scope of what doctors

    typically do on school forms.

328.      Now, doctors are being asked to fill out extensive forms and lengthy accompanying letters

    which provide enough detail that any number of reviewers - none of whom is familiar with

    the child or their medical or family history and many of whom have no medical training at all

    - can understand how the physician arrived at their decision to certify an exemption and how

    that decision squarely fits into the ACIP guidelines.

329.      Most doctors do not have the time or inclination to write such extensive reports as are

   required by the new regulations for something as routine as a school medical form.


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330.       Many doctors are also daunted by the hyper-legal nature of the reviews and though they

        understand the medical risks and reasons for their determination, are uncomfortable with

    trying to understand the legally narrowed criteria which now bind them.

331.       Many families find themselves having to spend large amounts of money and time in

    consultation with attorneys, medical specialists, and doctors' offices to try to craft letters that

    will not be arbitrarily overruled.

332.       This level of engagement and documentation makes it impossible for families without the

    means or influence to hire such teams to get the medical exemptions they deserve under law.

333.       Moreover, the need for increased documentation creates significant privacy concerns.

334.       Doctors are compelled to present extensive private health information and reasoning on

    their forms about the individual child and often family health histories.

335.       These forms are then presented to school administrators who discuss and review this

    private information in detail with one another and with third party consultants and attorneys

    who, in some cases, affected families are not even allowed to know about. This presents a

    clear violation of medical privacy and HIPAA rights and is a dangerous precedent to set.

336.       Subparagraph (ii) of paragraph (4) of subdivision (c) of section 66-1.2 further requires

    that a doctor submit the entire exemption request, including the extensive medical history and

    personal information now required on exemption forms to withstand scrutiny, into the New

    York State Immunization Information System.

33 7.      Even for conditions that are listed as permanent contraindications, the families must obtain

    a new form every year, adding expense and burden to the already burdened families and

    treating physicians.




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 338.   A yearly submission also means that families must subject themselves to annual

    uncertainty as to whether their child will be aJlowed to stay in school.

 339.   Many schools accept children initially but then, months later, expel them with a week's

    notice mid-year.

340.    Treating physicians have been threatened and confused by the new regulations to the

    extent that many are hesitant to write exemptions even where they believe that one or more

    immunization may be detrimental to a patient's health and that the grounds does fit within the

    ACIP criteria.

341 .   The NYSDOH has indicated that its staff will be monitoring physicians who write medical

    exemptions and have been investigating and intimidating physicians who do so.

342.        Many parents have been told by their treating specialists and physicians that, though the

    physician believes that the child could be harmed by an immunization, s/he cannot dedicate

    the time and resources it takes to draft such an exemption.

343 .       Many other physicians are confused by what the new regulations mean and do not want

    to risk any backlash from the NYSDOH if there is disagreement.

344.    Many doctors that wrote medical exemptions last year and for many previous years are

    telling plaintiffs that they are not willing to undergo the same burdens and scrutiny again this

    year.

345.    Local Health Departments have given physicians false information about how narrow the

    criteria are, and many physicians have reported being bullied and threatened by the NYSDOH

    or the school district contract physicians.




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346.        For those lucky few children whose physicians do submit themselves to this onerous

       process, upon the advice and pressure from defendant DOH, school principals are overruling

       the vast majority of medical exemptions.

347.       Since the passage of the "emergency" regulations last year, an alarming number of

       medically fragile children have been expelled from school and denied services when they

       refused to immunize their children against medical advice.

           MANY MANDATORY VACCINES ONLY PROTECT THE RECIPIENT

348.       At least half of the vaccines that are on the mandatory schedule in New York are only able

       to provide protection to the recipient and are not able to provide any protection for the rest of

       the community.

349.      Tetanus is not a contagious disease. Tetanus containing vaccines cannot protect anyone

    but the recipient of the vaccine.

350.      The polio vaccine mandated in the United States- the inactivated polio vaccine c·rPV")-

    does not stop replication and transmission and allows the recipient to become an

    asymptomatic carrier and pass polio on to others.

351.      The same is true of the vaccines for pertussis, diphtheria, and meningococcal infection.

352.      Other vaccines on the list, particularly the live vaccines, are generally thought to be able

    to protect against replication and transmission. However, they have also been shown to cause

    recently vaccinated individuals to shed and infect others. For this reason, cancer patients are

   often told to stay away from the recently vaccinated.

353.      The number of medically fragile children seeking a medical exemption in New York and

   the risk to the community from them if they forego immunizations on the advice of their




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       physicians is small enough that there is no compelling reason to narrow the scope of the

       medical exemption or place these burdens on it.

 354.     Hundreds of vulnerable children have suffered irreparable harm as the result of the

       policies, procedures, and practices adopted by the defendants regarding the medical

    exemption.

                                      CLAIMS FOR RELIEF

                                    FIRST CLAIM FOR RELIEF
                           Violations of Substantive Due Process Rights
355.      Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

    above.

356.      The Constitution of the United States of America recognizes and preserves the right of

    citizens to be free from government actions that harm life, liberty, and property. These

    inherent and inalienable rights reflect the basic societal contract of the Constitution to protect

    people from government infringement on basic natural rights and freedoms.

357.      Defendants have violated and continue to violate these fundamental rights by

    promulgating and enforcing regulations and practices which place arbitrary and capricious

    limitations on the availability of a medical exemption from immunization.

358.      These actions are putting medically fragile children at risk of harm and death and thereby

    infringing upon their fundamental right to life itself.

359.      Defendants' practice of overruling, or permitting the overruling of the judgment of

    medical doctors familiar with plaintiffs' children by persons unqualified to make such

   judgments, depriving these children of a free public education (and the right to pursue any

    education at all), and depriving them of federally guaranteed services unless they incur the

    risk of substantial injury and/or death, is conscious-shocking and irrational and violates the



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       plaintiffs' right to substantive due process as guaranteed by the Fourteenth Amendment and

       made actionable by 42 U.S.C. section 1983.

                                SECOND CLAIM FOR RELIEF
             Violation of 14'b Amendment by burdening liberty interest in parenting


360.      Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

    above.

361.      Parents have a well-recognized liberty interest in directing the care and upbringing oftheir

    children. This includes choosing the most appropriate treating physician and choosing

    whether to follow their advice when the physician has determined that their child could be at

    risk of harm from one or more immunization.

362.      Defendants' practice of overruling, or permitting the overruling of the judgment of

    licensed medical doctors, chosen by parents and familiar with plaintiffs' children by persons

    unqualified to make such judgments, trespasses upon plaintiffs' right as parents to make

   decisions concerning the health and welfare of their children, one central element of liberty

   as guaranteed by the Fourteenth Amendment and made actionable by 42 U.S.C. section 1983.

363.      The plaintiffs' fundamental rights and liberty interests are being unconstitutionally

   infringed upon.

364.      The defendants' practices, policies and procedures adopted in relation to implementation

   of the regulations regarding medical exemptions to immunization in New York are not

   narrowly tailored to serve a compelling state interest.

365.      Many of the practices and burdens serve no rational basis at all.




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                                 THIRD CLAIM FOR RELIEF
          Violation of 141h Amendment by burdening liberty interest in informed consent

366.        Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

        above .

367.       The right of informed consent is protected by the Constitution of the United States, the

    Treaties and Laws made pursuant thereto, and the case law of the United States of America.

368.       Parents have a fundamental right and liberty interest to be able to exercise informed

    consent on behalf of their minor children in accordance with the medical advice received from

    their licensed physicians.

369.       Directly and through their agents, defendants have willfully refused to reasonably

    accommodate the fundamental right of parents, thereby placing an undue burden on the

    protected interests and rights of the Plaintiffs to exercise informed consent and opt out of a

    medical intervention which has been established to be potentially harmful to the individual

    child.

370.       Not only are parents denied the discretion about whether to consent to treatment in

    accordance with the recommendation of their licensed physician, but even the right to basic

    information has been taken away. Determinations are being made between school principals

    and outside doctors or consultants who are not in communication with the parents and children

    and who do not provide a full explanation of the risks and benefits of the procedures as it

    applies to the child.

                               FOURTH CLAIM FOR RELIEF
        Violation of 14'h Amendment by burdening minors' right to free public education

3 71.      Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

    above.



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 372.      Children have a liberty interest in being allowed to pursue an education generally and the

        right, under the New York State Constitution and the United States Constitution, to a free

        public education.

373.       Defendants' practice of conditioning children's right to pursue an education, public,

        private or daycare, or receive guaranteed benefits, on the parents' waiver of fundamental

    rights including the right to exercise informed consent in furtherance of the best interests of

    their child based on the advice of licensed physicians, violates the doctrine of unconstitutional

    conditioning.

                                    FIFTH CLAIM FOR RELIEF
                                Violation of Rehabilitation Act of 1973

374.       Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

    above.

375.       The new regulations and the defendants' policies, practices, and procedures in

    implementing them are not narrowly tailored and both facially and in practice result in

    overbroad application and infringement upon the plaintiffs' fundamental rights.

3 76.      Plaintiff children are all disabled as defined by the Rehabilitation Act of 1973 in that each

    of them suffers from a limitation in the performance of one or more major life activity.

3 77.      By dint of their manner of administering the medical exemption provided by the State of

    New York, defendants have unlawfully excluded plaintiffs' children from participation in an

    activity, namely schooling, which receives federal financial assistance, thereby violating

    section 504 of the Rehabilitation Act of 1973.



                                     SIXTH CLAIM FOR RELIEF
                                 Violation of Rehabilitation Act of 1973



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3 78.     Plaintiffs hereby re-allege and incorporate by reference each of the allegations set forth

       above.

379.      Medically fragile children are being disparately impacted by the state's narrow and

       arbitrary medical exemption requirements.

380.      The ACIP guidelines are not meant to be comprehensive and do not cover reasons why

       some children might be put at risk by one or more of the mandated immunizations.

381.      Medically fragile sub-populations particularly have not been adequately studied, and there

       is significant divergence of thought within the medical and scientific community about the

    risk that is posed to medically fragile subpopulations.

382.      The challenged regulatory scheme cannot be defended as a law of general applicability.

383.      There is no rational basis for discriminating against children who suffer from the hundreds

    of recognized harms that do not fall on the ACIP contraindications and precautions list

384.      Defendants have violated the rights of medically fragile children to receive equal

    protection of the law by enacting and promulgating regulations which disparately impact

    medically fragile children.

385.      Plaintiffs are being harmed by the actions of the Defendants in the violations of all the

    above-named causes of action.

386.      Wherefore, Plaintiffs pray for relief as more fully set forth below.

                                      PRAYER FOR RELIEF

          WHEREFORE, plaintiffs pray that this Honorable Court accept jurisdiction in this matter

and:

          A. Certify plaintiffs as class representatives of a class comprised of persons/children

                who have been sought medical exemptions in New York State since August I, 2019;



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        B. Recognize Michael Sussman, Esq., Sujata Gibson, Esq., Robert F. Kennedy, Jr., Esq.

            and Mary Holland, Esq., as counsel for the class;

        C. Declare that Defendants have violated the constitutional rights of the plaintiffs and

            Section 504 of the Rehabilitation Act;

        D. Declare that the NYSDOH regulations restricting the availability of the medical

           exemption are facially unconstitutional and unconstitutional as applied;

        E. Permanently enjoin defendants from subjecting the Named Plaintiffs and Plaintiff

           class to policies and practices that violate their constitutional and other legal rights

           including specifically enjoining defendants from engaging in the following practices:

           [ 1] allowing schoo I district administrators to deny requests for medical exemptions

           submitted on behalf of class members by physicians licensed to practice in the State

           ofNew York or primary care Nurse Practitioners or Physician's Assistants; (2]

           requiring that as a condition for obtaining medical exemptions, class members

           provide detailed medical information which trespasses class members right to privacy

           of medical records to the extent consistent with their request for a medical exemption;

           [3) requiring annual recertification of medical exemptions unless the treating provider

           indicated it was a temporary exemption; [4] predefining the medical conditions

           which may predicate grant of a medical exemption rather than allowing licensed

           physician chosen by the parents to make clinical determinations about what may

           cause harm;

       F. Order defendants to develop, adopt and implement policies and practices to ensure

           that the State of New York and it's school districts do not continue to engage in

           burdensome reviews of medical exemptions or deny medically fragile children an



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              education for opting out of one or more mandatory school vaccine when their

              licensed physician has certified that it may be harmful to their health;

         G. Temporarily enjoin defendants from excluding children from school who have

              submitted a medical exemption to immunization signed by a licensed physician or

              treating nurse practitioner; and

         H. Award plaintiffs' reasonable costs and attorney's fees incurred in this action; and

         I.   Grant any such other relief as the Court deems just, necessary, and proper.

                 Dated: June 22, 2020

                                                          Respectfully submitted,



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